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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF VIRGINIA


                                           Newport News Division

   PATRICIA E. MULLINEX,
   Individually and as Executor of the
   Estate of Herbert H. Mullinex, Jr.

                             Plaintiff,

    V.                                                      CIVIL ACTION NO.: 4:18-cv-00033


    JOHN CRANE,INC.,et al

                             Defendants.


                     JOINT PROPOSED FINAL AMENDED PRETRIAL ORDER

              In conformity with Federal Rule of Civil Procedure 16(b)and the Local Rules of Court for

    the United States District Court for the Eastern District of Virginia relating to pretrial procedure,

    it is hereby ORDERED that:

         I.      JURISDICTION

              This Court has determined that it has jurisdiction under the federal officer removal statute,

    28 U.S.C. §§ 1442. JCI removed this case from state court on March 23, 2018,(see Notice of

    Removal(ECF 1)), and Plaintifffiled a Motion for Remand(ECF 19-20), which was subsequently

    denied by this Court(ECF 45,61). Plaintiff submitted Objections to the Magistrate Judge's Report

    and Recommendations Denying Plaintiffs Motion for Remand (ECF 47), and those objections

    were overruled by this Court.
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      II.      STIPULATION OF UNDISPUTED FACTS


       1. Herbert and Patricia Mullinex filed their original Complaint in the Circuit Court for the
          City of Newport News on November 14, 2016, naming JCI and 11 other Defendants.

       2. JCI is a successor-in-interest to Crane Packing Company.

       3. Herbert and Patricia Mullinex were married on January 27, 1981 and remained married
            until his death in November 2021.


      4. Herbert Mullinex enlisted in the U.S. Navy on May 20, 1969.

       5. Herbert Mullinex served onboard U.S.S. Holder from December 7, 1969 to June 28, 1971,
            as a Machinist's Mate Fireman(MMFN)and Machinist Mate Third Class(MM3).

       6. Herbert Mullinex served onboard U.S.S. Allen M. Sumner from July 28, 1971 through
          March 12,1973 as a Machinist Mate Third Class(MM3)and Machinist Mate Second Class
            (MM2).

       7. Herbert Mullinex served onboard U.S.S. Fulton as a Machinist Mate Second Class(MM2)
            and Machinist Mate First Class(MMl)from March 23, 1973 through December 13, 1974
            and was on shore duty from December 1974 to March of 1977.

       8. Herbert Mullinex served onboard U.S.S. Edson from April 10, 1977 to until February 1,
            1981 as a Machinist Mate First Class(MMl).

       9. Herbert Mullinex's exposure to asbestos ended on October 23, 1978.

       10. Herbert Mullinex retired from the U.S. Navy on February 28, 1989 as a Machinist Mate
           Senior Chief Petty Officer and was honorably discharged.

       11. Herbert Mullinex was diagnosed with mesothelioma on July 27, 2016.

       12. Herbert Mullinex's medical bills related to the treatment of his mesothelioma total
           $1,078,883.70.

       13. Herbert Mullinex died as a result of his mesothelioma on November 11, 2021, at the age
            of 73.


       III.    EXHIBITS


            A. Learned Treatises/Expert Reliance Documents: The parties intend to utilize expert

               reliance documents and/or learned treatises with expert witnesses on direct and cross-
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               examination. The parties have agreed to not list leamed treatises and expert reliance

               documents as they will not seek to formally admit them into evidence unless

               specifically identified as an exhibit. The evidence still must be based on a proper

               foundation at trial to use the documents.


            B. Exhibits With No Objections: The parties agree that the exhibits listed on Exhibit 1

               may be introduced into evidence, by either party, without objection, subject to the

               appropriate foundation.

            C. Plaintiffs Exhibits: The Plaintiff wishes to offer the following exhibits to which the

               Defendant, John Crane,Inc., objects where indicated as listed on Exhibit 2. Magistrate

               Judge Miller's rulings on JCI's objections are noted in the corresponding column.

            D. JCI Exhibits: JCI wishes to offer the following exhibits to which the Plaintiff objects

               where indicated as listed on Exhibit 3. Magistrate Judge Miller's rulings on Plaintiffs

               objections are noted in the corresponding column.

      IV.      WITNESSES: The parties hereby designate the names and addresses of the witnesses

               who will (or may), without objection, testify at the instance of each (in addition to any

               witness testifying by deposition) and the purposes of such testimony.

            A. Plaintiff Expects to Present the Following Witnesses at Trial (^denotes a "may
               call")

             Name & Address                                Purpose                JCI Objection
             Herbert Mullinex, Jr., by videotaped          Plaintiff/Fact         JCI      has     asserted
             depositions taken July 2, 2018, and April                            objections to certain
             23, 2021                                                             portions    of    the
       1.    519 Lake Road                                                        designated testimony
             Stuarts Draft, Virginia 24477                                         which have been ruled
             (434)223-1140                                                        on by the Court.

             Patricia Mullinex                             Plaintiff/Fact
       2.    519 Lake Road
             Stuarts Draft, Virginia 24477
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            (434)223-1140

            Randolph Getz, deceased, by videotaped      Fact           JCI    has     asserted
            deposition taken October 23, 2017                          objections to certain
                                                                       portions    of    the
      3.
                                                                       designated testimony
                                                                       which have been ruled
                                                                       on by the Court.
            Allan C. Kaulback, by videotaped            Fact           JCI    has     asserted
            deposition taken October 16, 2017                          objections to certain
            1725 McCowans Ferry Road                                   portions    of    the
      4.
            Versailles, KY 40383                                       designated testimony
            (330)876-0428                                              which have been ruled
                                                                       on by the Court.
            Dale Wells,* by videotaped deposition       Fact           JCI    has     asserted
            taken October 25, 2017                                     objections to certain
            935 Maple Street                                           portions    of    the
      5.
            Wilmington,IL 60481                                        designated testimony
            (815)353-9056                                              which have been ruled
                                                                       on by the Court.
            David S. Rodda*, by videotaped deposition   Fact           JCI    has     asserted
            taken October 30, 2017                                     objections to certain
            1912 NW 179^ Street                                        portions    of    the
      6,
            Ridgefield, WA 98642                                       designated testimony
            (360)831-3303                                              which have been ruled
                                                                       on by the Court.
            Thomas A. D'Amico, M.D., live or by Treating Physician     JCI    has     asserted
            videotaped deposition taken January 24,                    objections to certain
            2018                                                       portions    of    the
            Duke University Medical Center                             designated testimony
      7.
            Durham, NC 27710                                           which have been ruled
            (919)681-0491                                              on by the Court.
            (919)684-4891

            Yuvari Choudhary, M.D.* Live or by Treating Physician      JCI     has    asserted
            videotaped deposition taken January 18,                    objections to certain
            2018                                                       portions    of    the
            Virginia Cancer Institute                                  designated testimony
       8.   1401 Johnston Willis Drive, Suite 100                      which have been ruled
            Richmond, VA 23235                                         on by the Court.
            (804)330-7990


            Amy L. Eye, RN* Live or by Zoom             Fact Witness
       9.   Augusta Health - Hospice ofthe
            Shenandoah
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             64 Sports Medicine Drive
             Fishersville, VA 22939
             540-932-4909


             John C. Maddox, M.D.                     Expert   JCI objects to       the
             Department of Pathology                           testimony  of        Dr.
             Riverside Regional Medical Center                 Maddox for the reasons
       10.
             Newport News, Virginia 23601                      set forth in ECF Nos.
             (757)810-8857                                     193 and 378.


             William E. Longo, Ph.D.                  Expert   JCI objects to the
             Materials Analytical Services, Inc.               testimony of Dr. Longo
             3945 Lakefleld Court                              for the reasons set forth
       11.
             Suwanee, GA 30024                                 in ECF Nos. 206 and
             (770)-866-3208                                    379.


             David Rosner, Ph.D., MPH                 Expert   JCI objects to the
             Columbia University                               testimony of Dr. Rosner
             Ronald H. Lauterstein Professor of                for the reasons set forth
             Sociomedical Sciences and History and             in ECF No. 190.
             Co-Director, Center for the History of
             Ethics of Public Health Department of
       12.
             Sociomedical Sciences School of Public
             Health
             722 West 168th Street, 9th Floor
             New York,NY 10032
             (212)305-1727

             Dr. Terry Spear, Ph.D.            Expert          JCI objects to the
             Montana Tech of The University of                 testimony of Dr. Spear
             Montana                                           for the reasons set forth
       13. 1300 West Park Street                               in ECF Nos. 216 and
             Butte, MT 59701                                   376.
             (406)496-4897

             Commander Andrew A. Ott                  Expert   JCI objects to the
             ANDREW A. OTT,Inc.                                testimony of Dr. Ott for
             PC Box 64301                                      the reasons set forth in
       14.
             Virginia Beach, VA 23467                          ECF Nos. 221 and 416.
             757-748-6153


             George Neil, Ph.D.*                      Expert
             Thomas Jefferson National Accelerator
       15.   Facility
             12000 Jefferson Avenue
             Newport News, Virginia 23606
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             757-876-1775


             George Springs, Corporate Representative Fact/Defendant's          JCI    has     asserted
             for JCI, by prior depositions/trial testimony 30(b)(6)designee     objections to certain
             previously identified/designated                                   portions    of    the
       16.
                                                                                designated testimony
                                                                                which have been ruled
                                                                                on by the Court.
             George McKillop, deceased, by depositions Fact/Defendant's         JCI    has     asserted
             previously identified/designated          30(b)(6)designee         objections to certain
                                                                                portions    of    the
       17.
                                                                                designated testimony
                                                                                which have been ruled
                                                                                on by the Court.
             Vance Vorhees, deceased, by depositions Fact/Defendant's           JCI    has     asserted
             deceased, by depositions previously 30(b)(6)designee               objections to certain
             identified/designated                                              portions    of    the
       18.
                                                                                designated testimony
                                                                                which have been ruled
                                                                                on by the Court.
             Florian    Wisnewski, by depositions Fact/JCI             former   JCI    has     asserted
             previously identified/designated     employee                      objections to certain
                                                                                portions    of    the
       19.
                                                                                designated testimony
                                                                                which have been ruled
                                                                                on by the Court.
             James Heffron, Corporate Representative           Fact             JCI     has    asserted
             for Garlock Sealing Technologies, by                               objections to certain
             depositions taken August 21, 2007 and                              portions    of    the
       20.
             September 12, 2007 In Re: Hawaii State                             designated testimony
             Asbestos Cases^ Civil Action No. 07-1-                             which have been ruled
             ACM-002(EEH).                                                      on by the Court.
             Plaintiff reserves the right to offer the
             previously designated deposition testimony
             of any of the following custodians of
             records, to authenticate any business record
             or exhibit should the need arise. Plaintiff has
             previously provided JCI with the deposition
       21.   designations for: Dell Perelman (American
             Chemistry Council), Bobby Joe Pigg
             (Asbestos Information Association), Doris
             Pagan Volpe (Asbestos Textile Institute),
             Daniel    Braun (Industrial        Hygiene
             Foundation), Lyn Berard (Industrial
             Hygiene         Foundation),        Maggie
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          Baumgardner(Johns-Manville), and Robert
          Marcek (National Safety Council). Plaintiff
          previously identified and provided these
          designations    with    Plaintiffs    Rule
          26(a)(3)(A)     Disclosures.     Plaintiffs
          designations are incorporated herein by
          reference.



         B.     JCI Expects to Present the Following Witnesses at Trial

         Witness Name and Address                                Plaintiffs Objection
       Margaret A. McCloskey, Capt. Expert              Plaintiff objects to McCloskey's
       USN (Ret.)                                       testimony for the reasons stated in
        1917 Grace Church Road                          Plaintiffs Motion in Limine Regarding
       Silver Spring, MD 20910                          Margaret McCloskey (ECF Nos. 232-
       (619)710-9491                                    233);      McCloskey's        anticipated
                                                        testimony regarding whether Mnllinex
                                                        was exposed to amosite asbestos
                                                        insulation or lagging is speculative; she
                                                        is not an industrial hygienist and is not
                                                        qualified to give an exposure
                                                        assessment, and she has no factual or
                                                        evidentiary basis to testify about the
                                                        presence of or removal of amosite in
                                                        Mullinex's presence.

                                                        Plaintiff further objects to the extent
                                                        that McCloskey intends to offer any
                                                        testimony regarding the alleged
                                                        knowledge or negligence of the Navy,
                                                        given that JCI has withdrawn its
                                                        intervening      negligence     defense.
                                                        Plaintiff objects for the reasons stated
                                                        in Plaintiffs Motion in Limine to
                                                        Exclude Irrelevant Evidence and
                                                        Testimony Regarding the Alleged
                                                        Knowledge or Negligence of the Navy
                                                        (ECF Nos. 207 and 212) and to the
                                                        extent that JCI intends to illicit any
                                                        opinions from McCloskey which would
                                                        be probative of the sophisticated
                                                        purchaser defense, which this Court
                                                        has struck(ECF Nos.80 and 174).
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                                                    Plaintifffurther objectsfor the reasons
                                                    stated in any objections to the Courtis
                                                    rulings regarding McCloskey.
       David Sargent, R. Adm, USN Expert            Plaintiffs object to Sargent's testimony
       (Ret.)                                       for the reasons stated in Plaintiffs
        10114 Walker Lake Drive                     Motion in Limine to Limit or Exclude
       Great Falls, VA 22066                        Testimony of RADM David Sargent
       (703)757-7038                                (ECF Nos.82 and 84)and Objections to
       (via live videofeed pending court            Order on Motion in Limine(ECF 143).
       approval, see ECFNo. 496)
                                                    Plaintiff further objects to the extent
                                                    that Sargent intends to offer any
                                                    testimony regarding the alleged
                                                    knowledge or negligence of the Navy,
                                                    given that JCI has withdrawn its
                                                    intervening      negligence     defense.
                                                    Plaintiff objects for the reasons stated
                                                    in   Plaintiffs Motion     in Limine to
                                                    Exclude     Irrelevant    Evidence   and
                                                    Testimony Regarding the Alleged
                                                    Knowledge or Negligence of the Navy
                                                    (ECF Nos. 207 and 212) and to the
                                                    extent that JCI intends to illicit any
                                                    opinions from Sargent which would be
                                                    probative   of the     sophisticated
                                                    purchaser defense, which this Court
                                                    has struck(ECF Nos.80 and 174).

        James Crape, M.D.                  Expert   Plaintiffobjects to Crapo's testimony to
        4650 S. Forest Street                       the extent he intends to rely upon any
        Englewood, CO 80113                         speculative and unreliable studies, as
        (303)221-3201                               stated in Plaintiffs Motion in Limine to
                                                    Prohibit Reference and Reliance Upon
                                                    Speculative and Unreliable Studies and
                                                    the Opinions Contained Therein (ECF
                                                    Nos.244-245)and upon any speculative
                                                    and unreliable particle to fiber
                                                    conversions, for the reasons stated in
                                                    Plaintiffs Motion in Limine to Prohibit
                                                    Reference      and       Reliance    Upon
                                                    Speculative and Unreliable Fiber to
                                                    Particle Conversion Factors(ECF Nos.
                                                    240-241).

                                                    Plaintiff also objects to the extent that
                                                    Crapo seeks to rely upon time-weighted
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                                              averages,ivhich are tantamount to dose
                                              reconstruction,for the reasons stated in
                                              Plaintiffs Motion in Limine to Limit
                                             the Testimony of Industrial Hygiene
                                             and Medical Experts Regarding or
                                             Relying on "Dose Reconstruction"
                                             (ECF 218 and 222).

                                              Plaintiff further objects to Crapo's
                                              reliance upon Van Orden*s lung
                                              digestion report, and moves to strike
                                              any reliance upon it, for the reasons
                                              stated in Plaintiffs' Motion in Limine to
                                              Strike the Lung Digestion Report of
                                             Drew R. Van Orden and Prohibit Any
                                             Testimony, Statement, or Argument
                                             Regarding his Report and Findings
                                             (ECF Nos. 226-227).

        Mary Beth Beasley, MD       Expert    Plaintiff objects to Beasley's testimony
        Department of Pathology               to the extent she intends to rely upon
        Mt. Sinai Medical Center              any speculative and unreliable studies,
        One Gustave L. Levy Place             as stated in Plaintiffs Motion in Limine
       New York,NY 10029                      to Prohibit Reference and Reliance
       (212)241-5307                          Upon Speculative and Unreliable
                                              Studies and the Opinions Contained
                                              Therein (ECF Nos. 244-245) and upon
                                              any speculative and unreliable particle
                                              to fiber conversions, for the reasons
                                              stated in Plaintiffs Motion in Limine to
                                              Prohibit Reference and Reliance Upon
                                              Speculative and Unreliable Fiber to
                                              Particle Conversion Factors(ECF Nos.
                                              240-241).

                                              Plaintiff further objects to Beasley's
                                              reliance upon Van Orden's lung
                                              digestion report, and moves to strike
                                              any reliance upon it, for the reasons
                                              stated in Plaintiffs Motion in Limine to
                                              Strike the Lung Digestion Report of
                                              Drew R. Van Orden and Prohibit Any
                                              Testimony, Statement, or Argument
                                              Regarding his Report and Findings
                                              (ECF Nos. 226-227).
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                                                    Plaintiff also objects to the extent that
                                                    Beasley seeks to rely upon time-
                                                    weighted      averages,     which     are
                                                    tantamount to dose reconstruction, for
                                                    the reasons stated in Plaintiffs Motion
                                                    in Lintine to Limit the Testimony of
                                                    Industrial Hygiene and Medical
                                                    Experts Regarding or Relying on *^Dose
                                                    Reconstruction"(ECF 218 and 222).
        Benjamin Heckman, CIH             Expert    Plaintiff objects   to   Heckman's
        RHP Risk Management, Inc.                   testimony for the reasons stated in
        17 West South Street                        Plaintiffs Motion in Limine to Limit or
        Carlisle, PA 17013                          Exclude Testimony of Benjamin J.
        (717)706-3847                               Heckman (ECF Nos. 228-229) and
                                                    Plaintiffs Motion in Lintine Regarding
                                                    Gasket and Packing Videos Identified
                                                    on the Report and Reliance List of
                                                    Defense Expert, Benjamin J. Heckman
                                                    (ECF Nos. 238-239).

                                                    Plaintiff further objects to Heckman
                                                    offering any videos of any testing, in
                                                    accordance with this Court's Omnibus
                                                    Order(ECF No.353).

                                                    Plaintiff also objects to the extent that
                                                    Heckman seeks to rely upon time-
                                                    weighted      averages,     which     are
                                                    tantamount to dose reconstruction, for
                                                    the reasons stated in Plaintiffs Motion
                                                    in Limine to Limit the Testimony of
                                                    Industrial Hygiene and Medical
                                                    Experts Regarding or Relying on ^^Dose
                                                    Reconstruction" (ECF Nos. 218 and
                                                    222).

                                                    Plaintifffurther objects for the reasons
                                                    stated in any objections to the Court's
                                                    rulings regarding Heckman,

   6.   David Sicilia, Ph.D.              Expert    Plaintiff objects to Sicilians testimony
        Department of History, Key Hall             for the reasons stated in Plaintiffs
        4282 Chapel Lane                            Motion in Limine to Strike or Limit the
        University of Maryland                      Testimony of John        Crane, Inc.'s
        College Park, MD 20742                      Historical State of the Art Expert,


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        (301)405-7778                                        David Sicilia, Ph.D., (ECF Nos. 230-
        (via live videofeed pending court                    231).
        approval, see ECF No. 496)
                                                             Plaintifffurther objects for the reasons
                                                             stated in any objections to the Courtis
                                                             rulings regarding Sicilian to be filed.
   7.   Drew R. Van Orden,PE                Expert           Plaintiff objects to the lung digestion
        RJ Lee Group, Inc.                                   report of Drew R. Van Orden,PE,and
        350 Hochberg Road                                    any reliance upon that report. For the
        Monroeville, PA 15146                                reasons stated in Plaintiffs Motion in
        (724)235-1776                                        Lintine to Strike or Exclude the Lung
                                                             Digestion Report of Drew R. Van
                                                             Orden and Prohibit Any Testimony,
                                                             Statement, or Argument Regarding his
                                                             Report and Findings (ECF Nos. 226-
                                                             227).

                                             Witnesses whom JCI may call at trial ifthe need arises:
   8.   George L. Springs                   Corporate     No objection, to the extent Springs
        4705 San Marcus Highway             designee      testifies to matters within his personal
        Lulling, Texas 78648                                 knowledge pursuant to Fed. R. Evid.
        (713)899-0749                                        602. Springs has admitted he had no
                                                             personal experience or knowledge
                                                             regarding sales to the Navy or military
                                                             specifications for asbestos gaskets or
                                                             packing or for government mandated
                                                             warnings on those products.

                                              Witnesses identified by JCI who may be called to testify
                                                                      at trial.


   9.   Herbert Mullinex, Jr.               Plaintiff/fact   Plaintiff objects to the designation of
        519 Lake Road                                        the discovery depositions of Herbert
        Stuarts Draft, VA 24477                              Mullinex to the extent that JCI intends
        {By Deposition)                                      to present deposition testimony which is
                                                             cumulative or irrelevant. The Court
                                                             may exclude evidence which is
                                                             needlessly cumulative pursuant to Fed.
                                                             R. Evid. 403. To the extent the Court
                                                             permits this cumulative testimony.
                                                             Plaintiff further reserves the right to
                                                             offer the portions of the deposition
                                                             designated by Plaintiff pursuant to Fed.
                                                             R. Civ. P. 32(a)(6), as previously
                                                             provided with Plaintiffs counter-
                                                             designations.


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    10.   Patricia J. Muliinex         Plaintiff/fact   No objection.
          519 Lake Road
          Stuarts Draft, VA 24477
          {Live)

    11    Allan C. Kaulback            Fact             Plaintiff intends     to   call   Allan    C.
          9532 State Route 7                            Kaulback either by deposition or live at
          Kinsman, OH 44428                             trial.
          {By Deposition)
                                                        To the extent that Allan Kaulback
                                                        testifies live at trial, Plaintiff objects to
                                                        the extent JCI intends to present
                                                        deposition       testimony      which      is
                                                        cumulative      of     Kaulback's         live
                                                        testimony. The Court may exclude
                                                        evidence which is needlessly cumulative
                                                        pursuant to Fed. R.Evid. 403.

                                                        To the extent that Allan Kaulback
                                                        testifies by deposition, Plaintiff has
                                                        previously provided her counter-
                                                        designations and objections to JCI
                                                        which have been ruled upon by the
                                                        Court.


    12.   Randolph E. Getz(Deceased)   Fact             Plaintiff has previously provided her
          1015 East James Street                        counter-designations and objections to
          Lehighton, PA 18235                           JCI for Randolph Getz's deposition
          {By Deposition)                               which have been ruled upon by the
                                                        Court.


    13.   Dale Wells                   Fact             Plaintiff intends to call Dale Wells
          935 Maple Street                              either by deposition or live at trial.
          Wilmington,IL 60481
          {By Deposition)                               To the extent that Dale Wells testifies
                                                        live at trial. Plaintiff objects to the
                                                        extent JCI intends to present deposition
                                                        testimony which is cumulative of Wells*
                                                        live testimony. The Court may exclude
                                                        evidence which is needlessly cumulative
                                                        pursuant to Fed. R.Evid. 403.




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                                                          To the extent that Dale Wells testifies
                                                          by deposition, Plaintiff has previously
                                                          provided her counter-designations and
                                                          objections which have been ruled upon
                                                          by the Court..

   14.   Dave S. Rodda                    Fact            PlaintifT intends to call Dave Rodda
         1912 N.W. 179"'Street                            either by deposition or live at trial.
         Ridgefield, Washington 98642
         {By Deposition)                                  To the extent that Dave Rodda testifies
                                                          live at trial, Plaintiff objects to the
                                                          extent JCI intends to present deposition
                                                          testimony which is cumulative of
                                                          Rodda*s live testimony. The Court may
                                                          exclude evidence which is needlessly
                                                          cumulative pursuant to Fed. R. Evid.
                                                          403.


                                                          To the extent that Dave Rodda testifies
                                                          by deposition. Plaintiff has previously
                                                          provided her counter-designations and
                                                          objections which have been ruled upon
                                                          by the Court.

   15.   Steven Ibosh                     Fact            To the extent JCI intends to call Steven
         3224 Bright Stark Cove                           Ibosh as a witness in JCI's case.
         Bartlett,TN 38134                                Plaintiff has previously provided their
         {By Deposition)                                  counter-designations and objections to
                                                          Steven Ibosh's testimony which have
                                                          been ruled upon by the Court.


           C.     Testimony by Deposition

                  1. Plaintiffs Deposition Designations

           The Plaintiff will introduce the deposition testimony or portions thereof of Herbert H.

    Mullinex, Jr. (July 2, 2018 and April 23, 2021), Randolph Getz (deceased)(October 23, 2017),

    and George Springs(November 5, 2019, September 29, 2017, February 26,2016, March 1, 2016

    and June 24,2013), George McKillop(May 20,2001 ((Paccione)), April 20,2009, May 27, 1988,

    February 22, 2007), Vance Vorhees (March 3, 1983), Florian Wisniewksi (September 21, 1994


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    and May 22, 2009), James Heffron (August 21, 2007 and September 12, 2007), Dr. Thomas

    D'Amico(January 24,2018), Dr. Yuvari Choudhary(January 18,2018), Allan Kaulback(October

    16, 2017), Dale Wells(October 25,2017), and Dave Rodda(October 30,2017).

            Plaintiff has designated portions ofthis testimony to be presented to the jury, and JCI has

    provided its objections thereto, and has counter-designated portions ofthis testimony. Magistrate

    Judge Miller has reviewed and ruled upon the designations, counter-designations and objections

    as reflected in his Order dated April 28, 2022 regarding deposition designations {See EOF 502;

    ECF 502-1).

           Plaintiff also reserves the right to offer the deposition testimony of any of the following

    Custodians of Record to the extent necessary to authenticate any business record from any ofthe

    following organizations. Dell Perelman(American Chemistry Council), Bobby Joe Pigg(Asbestos

    Information Association),Doris Fagan Volpe(Asbestos Textile Institute), Daniel Braun (Industrial

    Hygiene Foundation), Lyn Berard (Industrial Hygiene Foundation), Maggie Baumgardner(Johns-

    Manville), and Robert Marcek (National Safety Council). Plaintiff previously identified and

    provided these designations with Plaintiffs Rule 26(a)(3)(A) Disclosures. Any of Plaintiffs

    designations not included in Magistrate Judge Miller's Order dated April 28,2022 are incorporated

    here by reference with Exhibit 4.

                   2. JCI's Deposition Designations

           JCI will introduce the deposition testimony of Herbert Mullinex, Jr.(May 9,2017 and May

    10, 2017) and Steven Ibosh (October 18, 2017). JCI has designated portions of this testimony to

    be presented to the jury, and Plaintiff has provided its objections thereto, and has counter-

    designated portions of this testimony. Magistrate Judge Miller has reviewed and ruled upon the

    designations, counter-designations and objections as reflected in his Order dated April 28, 2022


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    regarding deposition designations(See ECF 502; ECF 502-1).


    IV.FACTUAL CONTENTIONS


        A. Plaintiffs Factual Contentions are as follows:

                                                  SUMMARY


           1.      Plaintiff Herbert H. Mullinex, Jr. (hereinafter "Bert Mullinex" or "Mullinex")
    served as a machinist mate in the United States Navy from 1969 to 1989, entering as a machinist
    mate fireman apprentice and retiring as a senior chief petty officer/machinist mate.

           2.     From December 7, 1969 until June 28, 1971, Mullinex worked in the engine room
    ofthe USS Holder, a Navy destroyer.

          3.     From December 28, 1971 until March 12, 1973, Mullinex worked in the engine
    room ofthe USS Sumner, a Navy destroyer.

           4.      From April 10, 1977 until February 1, 1981, Mullinex worked in the engine room
    of the USS Edson, a Navy destroyer.

           5.    Throughout his service on the Holder and the Sumner and until October 28, 1978
    on the Edson, Mullinex was routinely and frequently exposed to and breathed uncontrolled
    asbestos dust and fibers from the intended use and removal of asbestos gaskets and packing
    manufactured by John Crane, Garlock and Chesterton.

            6.     Mullinex's exposure to asbestos gaskets and packing manufactured and sold by JCI
    is corroborated by Allen Kaulback, his supervisor on USS Holder, by David Rodda, his coworker
    on USS Holder, by Dale Wells, the preventive maintenance management coordinator on USS
    Edson, and Randolph Getz, Mullinex's supervisor on USS Edson.

           7.     On the 27th day of July, 2016, Mullinex was diagnosed to have malignant pleural
     mesothelioma, an incurable cancer, caused by his cumulative asbestos exposure in the Navy.

            8.     On November 11, 2021 Mr. Mullinex died as a result of his mesothelioma at the
    age of 73.

            9.      At no time prior to October 23, 1978 was Mullinex aware of any danger or health
    hazards associated with breathing asbestos dust and fibers from pipecovering products, insulation
    products, gaskets, or packing. His coworkers had likewise never been concerned of any hazard
    associated with any asbestos-containing products. At no time prior to that date was Mullinex
    warned by anyone that breathing asbestos dust and fibers could cause any serious illness or death,
    or that there were any safety precautions that should be taken to avoid breathing asbestos dust and
    fibers from the intended use of any asbestos-containing product including asbestos sheet gasket
    material, valve packing, pump packing, or insulation materials.

            10.    On October 23, 1978, Mullinex was advised by the Navy in a safety class that
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    breathing asbestos dust and fibers from asbestos insulation products, pipecovering, cement or
    cloth, could cause serious illness or death and that the danger from these fibers arose from the fact
    that asbestos fibers were invisible in the air.

          11.     Although the class did not mention any hazards or danger in the intended use and
    removal of asbestos gaskets and packing,from this information concerning the danger ofinvisible
    fibers, Mullinex inferred that the intended use and removal of asbestos gaskets was also likely to
    be dangerous even though there was minimal visible dust associated with the intended use and
    removal of these products; consequently, when Mullinex returned to the Edson he ordered
    respirators (face masks)and Tyvek suits for his crew of machinist mates.

           12.      From October 23, 1978, until the end of his Navy service in 1989 whenever
    Mullinex or his crew fabricated or removed asbestos gaskets on the Edson or on any ship on which
    Mullinex was assigned, both Mullinex and his crew wore protective face masks and Tyvek suits
    to avoid breathing asbestos dust and fibers.

            13.     Mullinex's intelligent response to the warning about asbestos insulation
    conclusively proves that if Mullinex had been given an adequate warning about the dangers of
    asbestos gaskets and packing prior to October 23,1978, he would have followed that warning. As
    he demonstrated in 1978, once he knew that asbestos gaskets and packing which appeared to be
    safe were in fact dangerous and could kill him, it would have been obvious that the pipecovering
    which was also asbestos and created visible asbestos dust wasjust as dangerous and could kill him
    Just as easily. Consequently, he would have known that all asbestos-containing products were
    dangerous, he would have protected himself, and he would not have contracted mesothelioma.

                        FACTS CONCERNING JCI AND THE STATE OF THE ART

           14.    John Crane, Inc.("JCI") manufactured over 300 varieties of asbestos-containing
    gaskets and packing and sold many ofthese products to the Navy prior to and during Mullinex's
    exposure period. By 1970, JCI admits that it knew that asbestos was a health hazard that could
    cause deadly diseases including asbestosis, lung cancer, and mesothelioma. However,that
    information had long been known to the asbestos industry and to the medical community as set
    forth in this summary.

            15.     JCI is a Delaware Corporation, registered to do business in Illinois.

            16.     JCI was organized in Illinois in 1917 and has been headquartered in Illinois since
    that time. Originally, JCI had an asbestos gasket and packing plant in Chicago. In approximately
    1954, JCI moved its asbestos gasket and packing plant to Morton Grove, Illinois.

           17. By 1931, JCI had operations nationwide with branches in all major US cities and
    in Canada. JCI also had common ownership with Crane Packing Ltd., its English subsidiary from
    August 1923 through 1936.

            18.     In 1930, His Majesty's Stationary Office published the official Merewether & Price
    Report on Effects ofAsbestos Dust on the Lungs and Dust Suppression in the Asbestos Industry in
    England where JCI's English subsidiary was located. The Report recommended dust control

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    measures for asbestos work including local exhaust ventilation, substitution of mechanical
    methods in place of hands-on methods, enclosure of dust-producing operations, and wetting of
    products to reduce dust, and education of workers. The report also warned of the hazards of
    "[sjawing, grinding, trimming, polishing and other abrading machines, used on dry asbestos
    products." This article was also republished in the United States in 1930.

           19.     From at least 1931 to 1985, JCI manufactured and sold asbestos textiles, valve
    packing, pump packing, rope, wick, and cloth gaskets. Some of these materials were impregnated
    with graphite (asbestos valve and pump packing), but others contained no such binders. The
    percentage of asbestos in each of these products varied from 30 to 70 percent asbestos or more
    including both chrysotile asbestos as well as crocidolite asbestos.

            20.    From at least 1954 until the late 1970s, JCI bought crocidolite asbestos fiber and
    thread from the North American Asbestos Company for use in the manufacture of crocidolite
    asbestos packings for use by industry for acid resistance. In 1975, John Crane stated in its catalog
    that crocidolite was carcinogenic and that crocidolite packings would no longer be sold; but
    purchase orders demonstrate John Crane continued to buy crocidolite asbestos fiber until at least
    1977 for the manufacture and sale of crocidolite packing. John Crane admits that none of these
    products ever contained a warning label.

           21.    From at least 1946 to 1985, JCI's chrysotile asbestos packing products, including
    packing styles 810, 810W, 6AMCR, 187-1, 300, 140, SSI, 250N, 150, 601ECA, C78, 4810m,
    4877, 48771, C06, C994, and C-65, qualified for use under federal or Navy specifications; and
    these products were sold to the Navy throughout Mullinex's exposure period, December 1969
    through October 23, 1978.

           22.     From 1931 to 1985, JCI sold asbestos sheet gasket material to the Navy under the
    style of JCI 2150. This product was advertised by John Crane to contain 80 percent chrysotile
    asbestos. It was manufactured by Raybestos-Manhattan and rebranded as John Crane 2150.

           23.     From at least 1954 until the late 1970s, JCI bought crocidolite asbestos gasket
    material from Gatke Company and rebranded this product for sale by JCI as John Crane Style
    number 2112. JCI sold this product in sheets and also as precut gaskets. These gaskets were cut
    on a gasket table by hand and by machine that was equipped with exhaust ventilation. These
    crocidolite gaskets were sold to industry but not to the Navy.

           24.     From 1931 to 1985, JCI sold John Crane 2150 chrysotile asbestos-containing sheet
    gasket material in bulk and also as precut gaskets to both commercial and Navy customers. During
    the 1950s, 1960s, and 1970s, JCI manufactured these precut gaskets by cutting them from sheets
    of JCI 2150 asbestos sheet gasket material by both hand cutting and machine cutting on a "gasket
    cutting" table equipped with exhaust ventilation.

          25.     The U.S. Navy had a generic numerical symbol, a code,for all asbestos gasket and
    packing materials, and this code was posted on a chart known as the B-I53 chart in the engine
    rooms ofthe Navy ships on which Mullinex served to advise workers ofthe gaskets and packing
    that could be used for specific equipment and temperature ranges.

            26.    The Navy code for asbestos sheet gasket material was "2150."
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           27.    From approximately 1946 to the 1960s, JCI directed Raybestos-Manhattan, the
    manufacturer of its asbestos sheet gasket material, to stamp the following information all over the
    sheet gasket material it sold to the Navy: "2150 NAVY HIGH PRESSURE JOHN CRANE
    SHEET PACKING CRANE PACKING COMPANY."

          28.      JCI put its name and other marketing artwork (a diamond pattern in black and
    yellow) all over the packaging and spools of its asbestos valve and pump packing materials.

            29.     There was no difference in the packaging of any asbestos-containing product
    manufactured or distributed by JCI to the Navy and the asbestos-containing products sold by JCI
    to private industry.

            30.     There was no difference in the composition of any of the asbestos-containing
    products manufactured or distributed by JCI to the Navy and the asbestos-containing products sold
    or distributed by JCI to private industry.

           31.     Prior to 1980, JCI placed no warnings or safety instructions on the packaging, the
    spool,the box,the rolls, or the individual sheets ofany of its 300 asbestos-containing products that
    were sold to private industry or to the Navy, including its 2150 asbestos gasket material and more
    than a dozen asbestos packing materials.

           32.     John Crane has admitted in this case that the United States Navy never expressly
    rejected, prohibited, or forbade John Crane from including any warning with or on any product
    that it sold or supplied to the U.S. Navy, the Department of Defense, or the United States
    government.

           33.     In the 1930s, as demonstrated by multiple medical articles and textbooks, the
    disease of asbestosis was well recognized in the medical communities in both England and the
    United States as a potentially deadly disease that could be prevented with the use of dust control
    methods and education of workers to "a sane appreciation ofthe risk"from breathing asbestos dust
    and fibers.

           34.     The specific risk of asbestosis as widely published in the 1930s was directed to the
    asbestos textile industry, which included gaskets and packing products manufactured or sold by
    JCI; specifically, asbestos packings made from raw chrysotile and raw crocidolite asbestos fibers
    as well as chrysotile and crocidolite yam. It also included the manufacture of"jointings" which
    was the name of gaskets at that time. See e.g. National Safety Council report by Shirley.

           35.     JCI was a member of the Illinois Manufacturer's Association ("IMA")from 1930
    through 1986. Karl Rohlen was the President of JCI from 1952 to 1976 and was a member ofthe
    IMA from at least 1952 through 1976.

            36.     In acknowledgement of the well-known disease of asbestosis, in 1936 Illinois
    passed an occupational disease act that expressly made a deadly disease called "asbestosis," which
    is solely caused by asbestos exposure,a compensable disease under Illinois workers' compensation
    law.

            37.    The same year, 1936,the IMA established a bureau to help IMA members,like JCI,

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    understand and comply with the new occupational disease act.

            38.    From the 1940s through the 1970s,JCI provided exhaust ventilation and dust masks
    for the workers in its asbestos gasket and packing manufacturing plant in Illinois. Eighty percent
    of all products manufactured in this plant contained asbestos, and by 1971 the plant was using
    8,000 pounds of raw asbestos per week.

           39.     By 1943, JCI had "49 service engineers in branch offices in the USA and a few
    foreign countries."

           40.    In the 1940s, the Illinois Department of Labor published a variety of articles
    concerning the risk of asbestosis in a variety of asbestos product industries in Illinois.

           41.     In 1945, an industry organization called the Manufacturing Chemists' Association
    ("MCA") published a guide for the preparation of uniform hazard warning labels known as the
    Manual L-1, A Guide for the Preparation of Warning Labels for Hazardous Chemicals." The L-1
    Guide provided guidelines for preparing warning labels for toxic dust and carcinogens. As these
    guidelines explained, the degree of hazard determines whether the label says danger, warning, or
    caution.

           42.    In 1946, the proceedings of the American Conference of Governmental Industrial
    Hygienists ("ACGIH") adopted a tentative safety proposal of 5 million particles per cubic foot
    (mppcf)as an accepted Threshold Limit Value(TLV)for preventing asbestosis(not cancer).

           43.    In 1947, the Illinois Department of Public Health, Division of Industrial Hygiene.
    Published an article summarizing the guidelines and standards of the MCA for the development
    and use of warning labels with products that create dangerous airborne dust.

            44.    In 1949, the Journal of the American Medical Association published a major
    editorial which explained that it had now been proven that asbestos causes lung cancer.

           45.     In 1951,Illinois promulgated the Health and Safety Act and the Health Safety Rules
    ofthe State of Illinois. Part J, Rules and Regulations required warning labels for the use, handling,
    and storage of substances harmful to the health and safety of employees, effective June 15, 1951.
    These labeling requirements applied to all containers of substances known to "constitute a health
    hazard." This included harmful dust from inhalation. The Illinois labeling law essentially codified
    the MCA's L-1 Manual for the preparation of warning labels.

           46.     In 1952, the American Conference of Governmental Industrial Hygienists adopted
    the standards for warning labels that had been previously published by the Manufacturers Chemists
    Association in its L-1 Manual for the Preparation of Warning Labels, a standard that provided
    guidelines for preparing warning labels for dangerous dust, toxic chemicals, and carcinogens.

           47.    In 1952, in response to the labeling requirements of the Illinois Health & Safety
    Act, Johns-Manville, which also had a plant in Illinois that manufactured asbestos products,
    recommended that an asbestos warning label be placed on shipments of asbestos to comply with
    the Act.



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            48.    As of at least 1952, Safety and Health Standards of the United States Department
    of Health and Labor for contractors performing federal supply contracts under the Walsh-Healey
    Public Contracts Act required contractors to ensure that employees were not exposed to asbestos
    levels above the ACGIH TLV for asbestos dust, i.e.: 5 million particles per cubic foot(mppcf).

           49.     In 1955, the Bureau of Medicine of the United States Navy adopted the
    recommendation of 5 mppcf of asbestos dust as a threshold limit value along with hundreds of
    other threshold limit values for toxic chemicals and dangerous dust like silica and diatomaceous
    earth.

            50.    In 1956, the Secretary of the Navy issued a letter establishing The Uniform
    Labeling Program-Navy(1956)to ensure that the users ofhazardous products received warnings.
    This letter set forth the requirements for the Navy's internal uniform labeling program for
    hazardous materials, including toxic dust. The letter noted it was establishing a supplemental
    internal warning program and that product manufacturers normally employed the MCA L-1
    Manual for warnings on products sold to the Navy.

            51.   In 1957,the Department of Defense(DOD)issued Amendment B to its MIL-STD-
    129, which dictated mandatory requirements for the packaging and storage of materials sold to the
    DOD including the Navy. This amendment to MIL-STD-129 specifically adopted the warning
    label standards of the MCA L-I, a Guide to the Preparation of Warning Labels for hazardous
    chemicals.

            52.    MIL-STD-129B required warnings on all "package units" to be "ultimately issued
    to the consumer who may be exposed to such chemicals under conditions of ordinary use," in
    accordance with the MCA L-1 Guide.(See Section 2.2.10.4.3, Page 6). "Markings of unpacked
    items shall be accomplished by stenciling, lithographs, silk screening, photo marking, and other
    similar process."(See Section 4.1.1)

           53.     From 1957 to 1979, all military specifications for compressed asbestos sheet
    packing and for asbestos valve and pump packing required all suppliers and manufacturers ofthese
    products to the Navy to comply with MlL-STD-129.

             54.     Gasket and packing materials sold to the Navy from 1957 until 1970 were governed
     by identical requirements in subsequent revisions in 1960(M1L-STD-129C)and 1964(MIL-STD-
     129D).

            55.    In 1958, in further response to the labeling requirements of the Illinois Health &
     Safety Act, Johns-Manville recommended warning labels for its asbestos-containing marine
     bulkhead material called Marinite.

            56.     In 1958,the American Industrial Hygiene Association reported asbestos gaskets as
     a source of asbestos exposure which could create the risk of cancer.

              57.   Throughout the 1950s, numerous medical publications further established the fact
     that asbestos exposure could cause lung cancer.

              58.   In 1960, Dr. J. C. Wagner published a landmark article entitled Diffuse Pleural

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    Mesothelioma and Asbestos Exposure in the North Western Cape Province, which reported on 33
    cases of malignant mesothelioma, most of whom had only peripheral or bystander exposure to
    crocidolite asbestos, the same fiber utilized by JCI at its Morton Grove plant from the 1930s until
    the late 1970s.

           59.     In 1960, the federal government enacted the Federal Hazardous Substances
    Labeling Act, Pub. Law 86-613 (FHSLA), which required hazard warning labels on hazardous
    substances intended or suitable for household use and defined as toxic. The term "toxic" applied
    "to any substance which has the capacity to produce personal injury or illness to man, through
    ingestion, inhalation, or absorption..."

           60.     In 1960, JCI's research lab was recognized in national publications. The lab had
    multiple chemical engineers who could have conducted any research that JCI might have
    requested. In various catalogs published by JCI, the competence and availability of this research
    lab was trumpeted to the public. However, JCI did no research and performed no testing to
    determine asbestos fiber release from the foreseeable use of its asbestos-containing products.

           61.        In 1961, the MCA amended its L-1 Guide, inter alia, to incorporate by reference
    the FHSLA and to adopt the FHSLA's definitions of"hazardous substance" and "toxic" from the
    FHSLA into this industry-wide warning label guide focused on industrial materials.

           62.    In 1962, multiple cases of mesothelioma were reported in the medical literature
    regarding shipyard workers who had only received intermittent exposure to asbestos.

           63.        In 1964, DOD amended MIL-STD-129D. This version ofthe standard continued to
    require warning labels on all packages units to be ultimately issued to the consumer in accordance
    with the 1961 version of the MCA L-1 Guide.

           64.     In 1964, the Navy approved "Temp-mat" a fiberglass product, as a substitute for
    removable pads that contained amosite asbestos; and Navy industrial hygienist, William Marr,
    published an article declaring that asbestos pipecovering was hazardous and that safety precautions
    should be taken to prevent the disease of asbestosis.

            65. In 1964, Dr. Irving Selikoff conducted a landmark conference in New York City
    for the National Academy of Sciences. Dozens of papers were presented concerning the risk of
    mesothelioma, lung cancer, and asbestosis in Job sites, industries, and cities throughout the United
    States and the World, highlighting the fact that occupational exposure to chrysotile, amosite, and
    crocidolite created the risk of mesothelioma from occupational, household, and environmental
    exposure. The conference was highly publicized. It was recognized at this conference that there
    was no known safe limit for asbestos exposure, the TLV of5 mppcffor asbestos dust provided no
    protection from mesothelioma, and that the TLV was based on counting total dust—not asbestos
    fibers—consequently, it was of little value.

           66.        From 1964 until 1970, dozens of peer-reviewed medical articles appeared in
    medical Journals, textbooks, and medical conferences, as well as industrial hygiene publications,
    concerning the rising incidence of mesothelioma in workers who used asbestos products, in
    bystanders,family members,and environmental exposures. This ultimately led asbestos to become
    the first substance to be studied by NIOSH and regulated by OSHA in 1970.
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            67.    Between 1964 and 1968, numerous manufacturers of asbestos-containing
    pipecovering materials(Johns-Manville,Pittsburgh-Coming, Owens-Corning,and GAP)began to
    place caution labels on the packaging of asbestos insulation products sold to both the Navy and
    industries. These labels did not use the word danger or warning, they were inconspicuous and
    inadequate according to the Fifth Circuit Court of Appeals in its opinion Borel v. Fibreboard
    (1973), but these labels were instituted in recognition of the duty of an asbestos product
    manufacturer to warn the users of its products, including the United States Navy.

           68.     In 1965, the Navy published "Safety Precautions for Shore Activities," which
    referenced the risk of asbestosis from insulation products and the importance of wamings for
    insulation products.

          69.    In 1966, the federal govemment amended FHSLA by renaming it the Federal
    Hazardous Substances Act(FHSA). Among other amendments, FHSA provided:

           The term label means a display of written, printed, or graphic matter upon the immediate
           container of any substance or, in the case of an article which is unpackaged or is not
           packaged in an immediate container intended or suitable to deliver to the ultimate
           consumer, a display of such matter directly upon the article involved or upon a tag or
           other suitable material affixed thereto."

           70.      In 1968, Captain Riblett of the United States Navy wrote in a major report that
    asbestos pipecovering activities were a major hazard in the United States Navy and needed to be
    controlled, but in the same document Riblett concluded that asbestos gaskets and packing were not
    hazardous because they were not friable and did not create visible dust.

            71.    In 1968, a report concerning asbestos materials used in English shipyards reported
    that asbestosjointings(gaskets) were not visibly dusty "unless they are ground, polished or sawn."
    Prior to 1980, no actual dust measurements were reported in this paper or any other subsequently
    published industrial hygiene report from England or the United States concerning airborne
    asbestos released from fabricating asbestos gaskets or removing asbestos gaskets.

            72.     In 1969, Naval Supply Systems Command promulgated MIL-STD-1341(SA),
    which required contractors to provide material safety data sheets(MSDS)and warning labels for
    any "hazardous material" supplied to the Navy. Appendix B to this Navy standard defines a
    "Hazardous Material" as a material that "(b) Has a threshold limit value below... 25 mppcf for
    dust or (g) in the course of normal operations may produce dusts. .. which have one or more of
    the above-characteristics." At this time, asbestos had a TLV of 5 mppcf; consequently, by this
    definition, asbestos and products that release asbestos dust "in the course of normal operations"
    were "hazardous materials]" and required MSDS sheets and waming labels.

          73.  In 1970, DOD adopted almost verbatim the warning and MSDS requirements of
    MIL-STD-1341 for all DOD agencies in MIL-STD-1341A.

           74.     In 1970, DOD promulgated MIL-STD-129E. Among other amendments, this
    version of MIL-STD-129 incorporated by reference both MIL-STD-1341 A and the FHSA,as well
    as the MCA L-1 Guide. Among other amendments, MIL-STD-129E split the hazard warning
    provision into the following two paragraphs:
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            5.2.2,5 Hazardous chemicals and materials. All unit and intermediate packages of
            hazardous chemicals and materials (including aerosol propellants) shall have affixed
            thereto the applicable warning label prescribed by MIL-STD-1341 (Symbols For Packages
            and Containers For Hazardous Industrial Chemicals and Materials), the Manufacturing
            Chemists Association Manual L-1, Guide to Precautionary Labeling of Hazardous
            Chemicals, and by DOD instructions and military specifications and other standards as
            published.

            5.2.2.5.1. Hazardous substances, all package units of hazardous substances (as defined in
            Public law 86-613, federal Hazardous Substances Act) to be ultimately issued to the
            consumer, shall have affixed thereto such warning labels as may be required by public law
            86-613, and amendments or changes thereto.

             75.    Despite the foregoing, JCl claims in its answers to sworn interrogatories to have
    first learned of the alleged health hazards of asbestos in approximately 1970 by reason of general
     publicity surrounding the passage of OSHA.

           76.     OSHA did not exist until 1971. Between 1971 and 1979, OSHA's permissible
    exposure limits and regulations applied to the relationship between a private employer and
    employee in the United States. OSHA had no jurisdiction in the United States Navy. No OSHA
    regulators were permitted to inspect Navy ships. During this time period,the warnings required by
    Federal law,the Department ofDefense,and the Navy,from manufacturers of asbestos-containing
    products to the Navy and to Navy sailors were not governed by OSHA or dictated by OSHA.
    Likewise, any exemption from OSHA's caution label regulations had no impact on the duties
    required by Federal law, the Department of Defense, or the Navy.

           77.     In 1971, OSHA provided an exemption from its caution label requirement for
    asbestos products where no foreseeable use could exceed the permissible exposure level. The DOD
    standards did not contain any exemption from its caution label requirements.

           78.    To determine whether the foreseeable uses of an asbestos product exceeded the
    OSHA permissible exposure level, air monitoring and testing was required unless the manufacturer
    ofthe asbestos gaskets believed that it was obvious that the intended use of asbestos gaskets could
    release asbestos fibers in excess ofthe OSHA PEL.

            79.     The OSHA permissible exposure limits have been reduced over time but at no time
    did OSHA or NIOSH contend that these permissible exposure limits would prevent cancer or
    mesothelioma in susceptible people. OSHA and NIOSH have always maintained that there is no
    known safe level ofexposure to asbestos that will assure that mesothelioma or cancer do not occur
    in susceptible people.

            80.     In 1971, the federal government promulgated Fed. Std. 313, which is mandatory
    for all federal agencies. Fed. Std. 313 is virtually identical to M1L-STD-1341A. Among other
    things, it required that:

            Government agencies shall reference this standard in commodity specifications, purchase
            descriptions, purchase orders, contracts and other purchase documents to assure inclusion

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           of adequate requirements and clear instructions to contractors for the application of
           symbols and submission of Material Safety Data Sheets.

            81.    In 1971, the Illinois Pollution Control Board issued an opinion supporting
    rulemaking within the state that was slated to take effect the following year in 1972. The opinion
    specifically noted that asbestos-containing gaskets were a source of asbestos emissions, that
    Illinois was enacting a 2 f/cc maximum allowable concentration for asbestos (far lower than the
    then current 5 fee OSHA limit), and that prohibited visible dust from the manufacture or use of
    asbestos products. The "principal concern in these regulations is to prevent or limit the emissions
    into the atmosphere resulting^^'ow the use ofasbestos and asbestos-bearing products" not merely
    the manufacture of such products. JCI subsequently applied for a variance from the regulations
    and was forced to invest in a costly new exhaust ventilation system, demonstrating that JCI had
    actual knowledge ofthese regulations of its home state.

           82.    In 1972, OSHA rejected using the word "warning" on asbestos product labels and
    chose the word "caution" instead. OSHA also rejected putting the word "cancer" on the label.
    These decisions were in contradiction of the recommendation of NIOSH and the Manufacturing
    Chemists Association that the word "warning" be used and that the danger of cancer be included
    in the warning.

            83.     In 1972-1973, Greene, Tweed & Company, which manufactured asbestos gaskets
    for the Navy and for private industry under the trade name of Palmetto, decided to put a caution
    label on all ofits asbestos-containing sheet gasket material.(Testimony ofcorporate representative
    George Crowther, October 14,2004)

            84.     In 1973, Johns-Manville Corporation declined to test its asbestos gasket material
    because the intended use of asbestos gaskets included cutting, sawing, band sawing, slitting,
    drilling, die cutting and punching; consequently, Johns-Manville concluded that there was no
    question that any fabrication of gaskets would result in levels far above OSHA requirements.

            85. In 1974, according to Answers to Interrogatories filed by Raybestos-Manhattan in
    the United States District Court for the Eastern District of Virginia, Raybestos placed a caution
    label on all of its asbestos sheet gasket material commencing in 1974. John Crane purchased that
    asbestos sheet gasket material from 1964 until 1985, and its corporate representative has testified
    that he never saw a warning or caution label on the asbestos sheet packing 2150 that was provided
    to John Crane by Raybestos with John Crane's name on it.

            86.      In 1974, John Call, the corporate representative for Anchor Packing Company,
    testified in a deposition dated June 25, 1993,that its asbestos gasket material was also supplied by
    Raybestos-Manhattan during the years 1967 to 1981. Raybestos rebranded the gasket material with
    Anchor's name. Like John Crane, Anchor was an approved supplier of asbestos gaskets to the
    Navy. Call testified that Anchor Packing began to place caution labels directly on its compressed
    asbestos sheet packing in the mid-1970s and that Raybestos-Manhattan enclosed a card describing
    the hazards of asbestos dust with each shipment of its compressed asbestos sheet gasket material.

           87. In 1975, Westinghouse Corporation prepared a memorandum to its safety
    department concerning the fact that asbestos gaskets manufactured by Nicolet, a manufacturer of

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    asbestos gaskets, had a caution label advising ofthe hazards of asbestos exposure. Nicoiet was an
    approved supplier of asbestos gaskets to the Navy.

            88.    In 1976, JCI initiated its first air monitoring program for its employees at their
    asbestos gasket and packing plant in Morton Grove, Illinois; and during this year NIOSH
    specifically advised John Crane that testing of products that appeared to be encapsulated was
    necessary because the release of airborne asbestos fibers was not visible to the naked eye. John
    Crane did not conduct any such testing.

           89.     Reports from the Industrial Hygiene Foundation demonstrate that monitoring for
    airborne asbestos dust was being done by Raybestos-Manhattan, Johns-Manville, and Oarlock in
    the 1940s, 30 years before John Crane initiated its asbestos monitoring program at its factory.

            90.    In 1977, the Product Liability Committee of Oarlock determined that all of their
    asbestos gasket and packing materials should be labeled with the OSHA caution label. The
    corporate representative for Oarlock testified that caution labels were placed on Oarlock's asbestos
    sheet gasket material commencing in 1977 with regard to sales to both the Navy and all other
    private industry.(See Heffron testimony from Hawaii.)

            91.    Prior to 1980, JCI did no testing concerning the potential fiber release from the
    intended uses of asbestos gaskets, no other asbestos gasket manufacturer performed any such
    testing, and no asbestos gasket manufacturer provided any asbestos gasket testing to the United
    States Navy concerning airborne asbestos fiber release from the intended and foreseeable use of
    asbestos gaskets.

           92.     Between 1974 and 1977, Oarlock, Raybestos-Manhattan, Nicoiet, and Greene
    Tweed, all of whom were manufacturers of asbestos gasket material that was sold to the Navy,
    began to place caution labels on the packaging or the face oftheir asbestos sheet gasket material.

            93.    Assuming OSHA caution labels were on the packaging or face of some asbestos
    sheet gasket material sold to the Navy,that label was either so inconspicuous that no one saw it or
    so inadequate that no one remembered it because no witness has yet been found who ever saw a
    warning or caution label on any packaging of asbestos gasket material or on the face of any
    asbestos gasket material on a Navy ship. This includes the Navy experts for both Plaintiff and
    Defendant in this case, the decedent, Mr. Mullinex, himself, and coworkers.

           94.    In 1978, the United States Navy issued two reports concerning asbestos gaskets.
    One concluded that cutting gaskets was dangerous and that strict safety procedures should be
    followed and that warnings should be issued to workers (Hobby, Long Beach, California). The
    other concluded that no special safety precautions were necessary (Liukonen, Puget Sound,
    Washington).

           95.     From 1931 to 1979, John Crane sold compressed asbestos sheet packing 2150 and
    a variety of asbestos valve and pump packing products to the Navy with full knowledge of the
    anticipated environment in which these products would be used by the Navy, specifically, in the
    engine rooms of Navy ships where asbestos gaskets and asbestos packing products would be used
    in tandem with and adjacent to asbestos insulation products on steam lines and equipment. As a
    consequence, John Crane also knew that any asbestos exposure to the crew ofthe engine rooms of
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    Navy ships would come from both asbestos insulation products as well as asbestos packing and
    gaskets because at all times the permissible exposure limit ofthe Navy and ofall industrial hygiene
    standards referred to the total asbestos exposure in the environment—not to just exposure from
    one product or another.

           96.     John Crane had specific employees, including Newell Brackett, who were charged
    with the responsibility of being the liaison between John Crane and the Navy; and these liaisons
    knew exactly where John Crane's asbestos gasket and packing would be used in the engine rooms
    of Navy ships.

           97.    In 1983, in response to demands from the Navy and other customers, JCI began to
    put a caution label on all of its asbestos-containing products, including asbestos gaskets and
    packing.

            98.    Prior to 1980, JCI admits it had never researched or conducted testing to determine
    the health hazards associated with the exposure of human beings to asbestos.

           99.   Prior to 1980, JCI admits it did not consult with any doctor or industrial hygienist
    concerning any foreseeable health risk associated with the intended use of asbestos gaskets or
    packing.

            100. Prior to 1980, JCI also admits it never provided any warning or caution labels on
    its asbestos-containing products, on the packaging of its products, spools, boxes, rolls, or sheets,
    or on MSDS sheets accompanying its products that were sold commercially or to the Navy.^


    'Magistrate Judge Miller has issued a Report and Recommendation holding that JCI is estopped
    from asserting that the Navy prohibited it from placing warnings anywhere other than on the face
    of its gasket material.(ECF 350). Therefore, it is an undisputed fact that JCI could have placed a
    warning anywhere other than on the face of its gasket material. Nevertheless, even in the face of
    Judge Miller's order, JCI continues to argue that it may assert that the Navy prohibited it from
    using even non-gasket-face warnings. JCI refuses to agree to list this as an undisputed fact. Judge
    Miller specifically held that:

            JCI obtained removal by pointing to Plaintiffs' allegedly last-minute decision to add a
            failure to warn claim based on gasket-face warnings. Its present claim that the [government
            contractor] defense applies equally to its warnings on the packaging would severely
            undermine its timeliness arguments. ... Therefore, JCI should not be permitted to make
            this argument later.

    (ECF 350 at 16); see also(ECF 350 at 14)(noting that "the fact issue in this motion is whether the
    Government exercised control over non-gasket face warnings")(emphasis added)(citing Lowery
    V. Stovall, 92 F.3d 219,224(4th Cir. 1996)(§ 1983 claim holding that "[o]ur review ofthe record
    shows that the district court properly applied the doctrine of judicial estoppel to preclude Ithe
    plaintiff! from disputing that he maliciously attacked Redd before [police officer] Stovall shot him)
    (emphasis added); see also Dorsey v. Ruth, 22 F. Supp.2d 753, 756 (D. Md. 2002)(applying


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            101. Prior to 1980, JCI also admits that it never notified or discussed the potential
    hazards of its asbestos gasket and packing products with the Navy.

            102. JCI's Navy expert, Radm. Sargent admits that the hazards of gaskets and packing
    were "not on the Navy's radar" before at least the mid-1970s and likely much later.

            103. JCI's other Navy expert, Capt. McCloskey, testified that she was unaware of the
    hazards of asbestos gaskets and packing when she served as the asbestos control officer on USS
    Yosemite in the early 1980s.

            104.    JCI contends that it destroyed all records of sales prior to 1977.

                          TESTIMONY OF MULLINEX AND HIS COWORKERS

            105. On December 7,1969, Mullinex was assigned to the USS Holder,a Navy destroyer,
    with the rank of machinist mate fireman. Mullinex was assigned to the forward engine room where
    he worked with 12 to 15 other machinist mates to maintain and service valves, pumps, and other
    equipment. There were approximately 18 pumps and 300 valves in that space. The engine room
    was estimated to be approximately 30 feet high, 30 feet wide, and 30 feet long, with two decks,
    some open grated and some solid.

            106. Mr. Mullinex was routinely and frequently exposed to uncontrolled asbestos fibers
    and dust from his work installing, fabricating, removing, and replacing JCI's asbestos-containing
    gaskets and packing from December 7, 1969 to June 28, 1971, as a Machinist's Mate Fireman
    (MMFN)and Machinist Mate Third Class(MM3)onboard USS Holder, and from working in close
    proximity to other machinist mates who were also installing, fabricating, removing and replacing
    JCI's gaskets and packing in Mullinex's presence onboard USS Holder.

            107. Mullinex testified that the repair of a valve often involved removing a removable
    portable pad covering the valve. Pads were composed of either asbestos cloth (chrysotile) or
    fiberglass cloth and made by the shipyard workers, in shops. Prior to 1964, these pads may have
    been stuffed with either amosite or fiberglass, and after 1964, they were stuffed with fiberglass.
    All of these pads were also painted with multiple layers of white rubberized paint on top of the
    cloth. Neither Mullinex nor his coworkers knew what the pads were made out of.


    Lowery and granting a police officer's motion for summary judgment in § 1983 claim, holding
    that "because [the Plaintiff] admitted in his plea agreement that he put Trooper Gruber in danger
    by backing his vehicle at her, and he is estopped from arguing anything inconsistent with such an
     assault, there is no genuine issue of material fact as to whether Officer Ruth had Justification for
     his use offorce against [the officer]")(internal quotations omitted).

     While Plaintiff has objected to Magistrate Judge Miller's order to the extent that it allows JCI to
     argue that the Navy prevented it from warning on the face of its gasket material. Judge Miller's
     holding recommends specifically precluding JCI from arguing that the Navy prohibited it from
     warning anywhere other than on the face of its gasket material. Therefore, ifthis Court affirms and
     adopts Magistrate Judge Miller's R&R on this issue, it will be an undisputed fact that the Navy
     did not prevent JCI from placing a warning anywhere other than on the face of its gasket material.
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           108. The pads, which looked like a pillow, were made to be easily removed so that
    workers could access equipment for repairs without damaging the pad. To remove the pad, they
    would unlace wires that held the pad in place somewhat like unlacing a shoe. They would then
    remove the pad and lay it aside undamaged. There is no testing that has ever been done by the
    Navy,or anyone else to our knowledge,that demonstrates what, if any, asbestos fiber release may
    occur from unlacing, unwiring, or re-attaching a portable pad.

            109. Then the machinist mate would unbolt the flanges of the valve from the flange of
    the pipe. After the bolts were removed,the machinist mate would separate the flange ofthe valve
    from the flange of the connecting pipe. If the seal between the two flanges was a compressed
    asbestos sheet gasket, that gasket would typically split when the joint was broken, leaving
    embedded asbestos gasket residue on both flange faces. Sometimes,typically on cold water lines,
    the gaskets would simply be hard and brittle and come offmore easily; but even on those occasions,
    gasket residue would stick to the flanges.

            110. Asbestos gasket residue on the flanges had to be completely cleaned from each
    flange prior to placing a new gasket between the two flanges when the valve was returned to the
    line; otherwise the connection would leak. Accordingly, machinist mates would have to clean
    both of the valve flanges, and both of the connecting pipe flanges for a total of four flange faces
    anytime a valve was removed from the line for repairs. Cleaning the flanges required the use of
    scrapers, hand wire brushes, and in some instances power wire brushes. Mullinex also used a
    chisel and a pocket-knife to remove gasket residue. Mullinex did not see visible dust in the air
    when this work was done. It typically took Mullinex 15 to 30 minutes to remove gasket residue
    from each flange, depending upon how badly the gasket residue adhered to the flange face.

            111. To make a replacement gasket, machinist mates would obtain a square piece of
    compressed asbestos sheet gasket material large enough to cover the face ofthe flange. This piece
    was typically cut from the 4 foot by 4 foot sheets of compressed asbestos gasket material. Next,
    the machinist would use a ball peen hammer to punch a hole in the asbestos sheet gasket material
    and put a bolt through the hole in the material and into a bolt hole on the flange to hold the asbestos
    sheet gasket material in place on the flange. The machinist mate would then use the ball peen
    hammer to cut the outer circumference of the gasket and the inner circumference of the gasket
    against the outer and inner edges of the flange face. The machinist mate would then knock out
    each ofthe bolt holes required to attach the new gasket back to the flange using either the ballpeen
    hammer or a punch if one was available.

           112. It typically took Mullinex approximately 15 minutes to cut each gasket out of
    asbestos-containing sheet gasket material with a ball peen hammer. When making two gaskets,
    Mullinex would often use this first gasket as a template to punch out the second gasket. Again,
    Mullinex did not see visible dust in the air when this work was being done.

           113. On USS Holder, Mullinex typically removed at least one to two valves per week.
    Each valve required removing old deteriorated asbestos gaskets and cutting new gaskets from
    asbestos-containing sheet gasket material, as well as removing the old deteriorated asbestos valve
    packing and installing new asbestos packing. Machinist mates would also have to remove a bonnet

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    gasket from a valve and cut a new gasket from asbestos-containing sheet gasket material. During
    the overhaul of USS Holder, he and ten other machinist mates removed nearly all of the valves,
    approximately ten valves a day following these same procedures.

           114. During Mullinex's service on the ship, USS Holder went on a cruise to the
    Mediterranean and occasionally docked in Naples,Italy,for repairs. From July 1970 until February
    1971, USS Holder was home ported in Norfolk. The ship underwent one repair availability
    alongside the destroyer tender, USS Sierra(AD 18), in February 1971, and underwent a Regular
    Overhaul from March 1, 1971 to June 1, 1971 at Philadelphia Naval Shipyard, Philadelphia,
    Pennsylvania.

           115. Hundreds of valves would be removed during an overhaul. Each valve typically
    contained 3 gaskets: 2 flange gaskets and a bonnet gasket, consequently, at least 500 to 1,000
    gaskets were removed and replaced in each engine room.

            116. The primary method Mullinex used for fabricating asbestos gaskets was with a ball
    peen hammer. Mullinex also used various hand punches to make the bolt holes for the gaskets.
    Apart from repair availabilities and overhauls, Mullinex estimated that he typically removed one
    or two valves every week on USS Holder. Each valve required fabrication oftwo to three gaskets.

            117. To remove gaskets from flanges, Mullinex's typical work methods included
    scrapers and hand wire brushes. These tools were necessary because the gaskets would typically
    stick to the flanges and would partially disintegrate as a consequence of the pressure and heat of
    the lines in which they were installed.

            118. Valves and pumps also required the use of asbestos packing. When valves and
    pumps leaked,the machinist mates would open the valve or the pump and remove and replace the
    packing. Asbestos packing resembled a rope of various sizes that was packed into "glands"
    surrounding valve and pump shafts to prevent leaking. The installation and removal of asbestos
    packing was a daily job in the engine rooms. To install packing, Mullinex would cut the graphite-
    covered asbestos packing with a knife into pieces to wrap around the shafts on valves, pumps,and
    other engine room equipment.

           119. The packing would degrade from the heat, pressure and friction of the valve or
    pump shaft and become hard and brittle. To remove the asbestos packing, Mullinex used a
    "packing pick" described as a long rod with a sharp point or as a corkscrew-like ending to grab the
    packing pieces from a shaft. The old, brittle packing would break apart into pieces and would
    release dust and debris. Mullinex removed packing material frequently and blew out any remaining
    packing dust and residue with compressed air or with his mouth to assure it was clean and all of
    the packing had been removed.

            120. Mullinex did not recall the manufacturers ofthe asbestos gaskets or packing that he
     used onboard the Holder. The only thing he recalled was that the crew frequently referred to gasket
     material generically as Garlock material.

            121.    Allan Kaulback was Mullinex's supervisor onboard USS Holder during the period

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    December 1969 to February 1971. Kaulback testified that John Crane and Garlock were the
    primary manufacturers and suppliers of asbestos sheet gasket material and asbestos packing
    material onboard the Holder during his supervision of Mullinex. Kaulback confirms that
    Mullinex's routine job duties included fabricating asbestos gaskets with a ball peen hammer and
    removing asbestos gaskets with scrapers and hand wire brushes. Kaulback viewed the video testing
    of Dr. William Longo and confirmed that the work methods and tools used in that video were
    substantially identical to those used on the Holder to fabricate gaskets and to remove gaskets.
    Kaulback, testified that the removal of packing on a valve would take about an hour, and on a
    pump it could take a couple of hours. Kaulback did not ever see any warnings on any asbestos
    products and did not know of any safety precautions that should be followed for asbestos gaskets
    and packing.

            122. Dave Rodda was also a co-worker of Mullinex's onboard USS Holder from May
    1970 until August 1971. From March 1971 until the end of June 1971 USS Holder was overhauled
    in the Philadelphia Navy Shipyard. Throughout the overhaul both Rodda and Mullinex worked
    together on a daily basis in the engine rooms of USS Holder. Rodda specifically identified John
    Crane and Garlock as the manufacturers ofthe asbestos gaskets and packing that were installed on
    the Holder and removed from the Holder during the overhaul. Rodda testified that he and Mullinex
    removed hundreds of valves, fabricated hundreds of gaskets, and cleaned gasket residue from
    hundreds of flanges during the four-month overhaul. Rodda confirms that the videotaped testing
    by Dr. Longo which demonstrates gaskets being fabricated with a ball peen hammer and gaskets
    being removed with scrapers and hand wire brushes was identical to the work that he and Mullinex
    did together during the overhaul. Rodda did not ever see any warnings on any asbestos products
    and did not know of any safety precautions that should be followed for asbestos gaskets and
    packing.

           123. On July 28, 1971, Mullinex was transferred to USS Allen Sumner, where he
    continued the routine and frequent fabrication and removal of asbestos gaskets in the forward
    engine room.

            124. Mullinex'sjob duties on the USSSumner were the same as on the USS Holder with
    the additional responsibility of teaching lower-ranking crew members the duties of a machinist
    mate. The frequency of Mullinex's gasket and packing work on USSSumner was"about the same"
    as on USS Holder. Approximately 70 percent of his time on the Sumner involved working in the
    engine room with twelve to fifteen other machinist mates, and 30 percent of his time was spent in
    the log room doing administrative work related to technical manuals, daily logs, and ordering parts
     and materials for the ship.

            125.    From his administrative work on the Sumner, Mullinex learned that the
     manufacturers of the asbestos gaskets onboard the Sumner were John Crane, Garlock, and
     Chesterton; and that these same companies manufactured the asbestos packing materials used
     onboard the Sumner. He also recalls the names and branding of these companies on the sheets of
     asbestos gaskets and on the spools and packages ofthe asbestos packing.

            126.    USSSumner was overhauled during May,June,and July 1972 at Philadelphia Navy
     Yard. During the overhaul of USS Sumner, he estimated that he and the other machinists removed

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    about 300 valves, and for each valve they cleaned the flanges and made 2 or 3 replacement asbestos
    gaskets. It also involved removing and reinstalling asbestos packing from these valves. In June
    1972, Mullinex was promoted to machinist mate second class. Throughout his service on USS
    Sumner, Mullinex continued to routinely and frequently (1) install and remove asbestos packing
    and (2)remove,fabricate, and install asbestos gaskets.

            127.   After the overhaul,from October 1972 to August 1973, Steven Ibosh became a co-
    worker of Mullinex's on USSSumner.Ibosh corroborates Mullinex's testimony regarding his work
    with and around JCI's asbestos-containing sheet gasket and packing material and corroborates the
    tools and work methods described by Mullinex. Ibosh also occasionally saw power wire brushes
    being used by others on USS Sumner.

           128. Mullinex served on USS Fulton as a Machinist Mate Second Class(MM2) and
    Machinist Mate First Class(MMI)from March 23, 1973 through December 13, 1974. On USS
    Fulton, Mullinex was assigned to the 02N2 plant making liquid oxygen and liquid nitrogen, and
    his job duties did not involve asbestos exposure. While onboard USS Fulton, Mullinex was
    promoted to machinist mate first class.

          129. In December 1974, Mullinex was transferred to shore duty where he stayed until
    March 1977. His shore duties did not involve any asbestos exposure.

            130. On April 10, 1977, Mullinex was transferred to USS Edson, a destroyer. In 1976,
    before Mullinex was assigned to the ship, it had undergone an overhaul in Long Beach,California,
    where the asbestos insulation in the engine rooms had been removed. Navy specifications
    prohibited the use of asbestos insulation for repairs or construction after 1974.

           131. As a machinist mate first class, Mullinex supervised twelve to fifteen other
    machinist mates in both the forward and aft engine rooms of the USS Edson. USS Edson was a
    reserve ship, and primarily a training ship; consequently, it stayed in port about 70 percent of the
    time. The machinist mates under Mullinex's supervision regularly and frequently fabricated,
    installed, and removed asbestos gaskets. They also regularly and frequently cut, installed, and
    removed asbestos packing from valves, pipes, and other equipment in the engine room. Mullinex
    identified the manufacturers of both the asbestos gaskets and the asbestos packing materials as
    John Crane, Garlock, and Chesterton, explaining that these products were used interchangeably.

            132.   On USS Edson,the machinist mates did the same work as on USS Holder and USS
    Sumner, but because it was a teaching ship for reservists, they removed "a little more" valves, i.e.,
    6 valves per week,resulting in fabricating and removing as many as 24 gaskets a week. USSEdson
    underwent an extended repair period during September and October of 1977 in Norfolk, Virginia.
    This activity involved the daily fabrication and removal of asbestos gaskets from dozens of valves
    as well as the removal and reinstallation of asbestos packing material.

           133. USS Edson also underwent one repair availability by Boston Naval Shipyard
    conducted pierside, U.S. Naval Base, Newport, Rhode Island beginning on October 10, 1978.

            134.   Randolph Getz was Mullinex's supervisor on USS Edson from April 1977 to June


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    1979 in both the aft engine room and forward engine room. Getz corroborates Muiiinex's work
    with and around asbestos-containing sheet gasket material and packing manufactured by John
    Crane and Garlock. He also recalled Johns-Manville materials. Getz corroborates the tools and
    work methods described by Mullinex. Getz also corroborates that Mullinex routinely supervised
    other machinist mates performing gasket and packing work. Getz estimated it took 30 minutes or
    longer to remove packing. Getz has reviewed the videotapes of Dr. Longo and confirms that the
    gasket fabrication and removal methodology demonstrated in those videos was identical to the
    work methods used onboard the Edson.


            135. The most common type of material that was used by Mullinex and his crew of
    machinist mates for gaskets in the engine rooms of USS Holder, USS Sumner, and USS Edson was
    "compressed asbestos sheet gasket "2150." This material came in sheets approximately 4 feet
    square, ranging from 1/32 inch to 1/4 inch in thickness, it was grayish white, and the manufacturer
    of the material and other information was stamped all over the sheet. This material was used to
    make flange gaskets, bonnet gaskets, and casing gaskets. The compressed sheet gasket 2150 was
    used to make gaskets for low pressure steam, cold water, fresh water, feed water, and lube oil. "It
    was an all-around gasket material." About 70 percent of the gaskets in the engine room were
    composed of compressed asbestos sheet 2150; and 25 percent of the gaskets were Flexitallic
    gaskets used for high-pressure steam valves. Less than 5 percent ofthe gaskets were made of other
    materials, such as rubber.



            136.   In the course of his work onboard USS. Holder and USS Allen Sumner, Mullinex
    routinely and regularly fabricated asbestos gaskets from JCI's 2150 sheet gasket material with a
    ball peen hammer and sometimes a punch, and he removed asbestos-containing gaskets with a
    scraper,a wire brush, and sometimes a knife. JCI's gaskets were used interchangeably with gaskets
    manufactured by Garlock and Chesterton on both of these ships. Mullinex knew that he removed
    JCI gaskets because he removed gaskets from flanges that he had previously put JCI gaskets on.

            137.   On USS Edson, Mullinex routinely and regularly supervised reservists who were
    doing this fabricating and removing JCI asbestos gaskets, and occasionally personally fabricated
    these asbestos gaskets himselffrom JCI's 2150 sheet gasket material with a ball peen hammer and
    sometimes a punch. Mullinex also assisted with the removal of JCI, Garlock and Chesterton
    asbestos-containing gaskets with a scraper, a wire brush, and sometimes a knife. On all three of
    these ships, Mullinex was exposed as a bystander to airborne asbestos dust and fibers from the
    routine and frequent fabrication and removal of JCI's asbestos-containing gaskets by the members
    of his crew of machinist mates who worked in the same spaces, at the same time, using the same
    products, tools and methods that Mullinex used. Ten to fifteen machinist mates were assigned to
    each engine room.

            138.   In the course of his work onboard USS. Holder and USS Allen Sumner, Bert
    Mullinex installed and removed asbestos pump and valve packing manufactured by JCI, Garlock
    and Chesterton on a daily basis. He installed packing by cutting it with a knife and installing it on
    the pump or valve shaft, and he removed asbestos-containing packing with packing hooks and
    pullers,and compressed air. On USSEdson,Mullinex routinely and regularly supervised reservists
    who were being trained to install and remove asbestos-containing pump and valve packing, using

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    the same products, tools and methods. On all three of these ships, Muilinex was exposed as a
    bystander to airborne asbestos dust and fibers from the routine and frequent installation and
    removal ofJCI's asbestos-containing packing by the members of his crew of machinist mates who
    worked in the same spaces, at the same time, using the same tools and methods that Muilinex used.
    Ten to fifteen machinist mates were assigned to each engine room.

            139. Muilinex first learned about asbestos products, specifically asbestos gaskets,
    asbestos packing,and asbestos insulation, when he was trained to be a machinist mate in the United
    States Navy. The machinist mates training manual (Machinist Mates 3 & 2) directed that the
    machinist mate should refer to a chart designated as a B-153 Chart to determine the type ofmaterial
    to use for gaskets and packing on various valves, pumps, and equipment and for various
    temperatures and applications in the engine rooms of Navy ships. The chart designated that
    compressed asbestos sheet packing that was used to fabricate asbestos gaskets was No. 2150
    ("2150 was the designated trade name for John Crane's compressed asbestos gasket material); and
    metal asbestos-impregnated gaskets (Flexitallic gaskets) were designated as No. 2410. The chart
    also designated a variety of asbestos pump and valve packing materials, the descriptions of which
    match asbestos-containing pump and valve packing sold by John Crane.

            140. Muilinex testified that on USS Edson, he supervised approximately 30 machinist
    mates. During a typical week, he estimated that approximately 6 valves would be removed in each
    engine room, requiring at least 12 gaskets for those 6 valves for both engine rooms, so that would
    be 24 gaskets per week and 36 gaskets if a bonnet gasket was required for each valve. During a
    repair period of USS Edson from September to October 1977, Muilinex testified that he supervised
    the removal of approximately 20 to 30 valves, each of which required his crew to make 2 or 3
    gaskets per valve—^gaskets that were manufactured by John Crane, Garlock, and Chesterton. As
    a supervisor, Muilinex would typically be within 5 or 6 feet ofthe machinist mates when they were
    doing this gasket work; but he would typically only stay in one place for approximately 5 minutes
    at a time.


            141. On USS Holder, USS Sumner, and USS Edson, the only ventilation was forced
    ventilation that blew the air around. The debris from the asbestos gasket and valve packing work
     was swept up with a broom,foxtail brushes, and dustpans and put into a trash can. They also used
    compressed air to blow the dust and residue.

            142. Each valve and each pump also contained asbestos packing which came in various
    shapes and forms on spools. Packing could be square or round, graphite covered or plain white,
    and it came in a variety of sizes from 1/8 inch to 1 inch thick. This material covered the shaft of
    the valve or the pump to prevent leakage. The B-153 chart showed the particular type of asbestos
    packing that should be used for the particular applications required.

            143.    Much ofthe piping in the engine rooms ofNavy ships was insulated, but Mullinex's
     duties on USS Holder, USS Sumner, and USS Edson did not involve the removal or replacement
     of insulation. Muilinex recalled that the pipe covering insulation typically ended several inches
     prior to the flange of the pipe that attached to the flange of the valve or pump so that machinist
     mates would not need to disturb it to unbolt pumps and valves. Rarely, a flange bolt was too long
     and there was not enough room between the insulation and the flange to remove the bolt. In those

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    instances, he would have to make a small cut in the pipe covering insulation (approximately two
    to three inches) with a knife or a hacksaw just far enough to get the bolt out. Navy destroyers like
    USS Holder, Sumner, and Edson did not carry replacement pipe insulation, so if he had to cut a
    small piece of pipe insulation, he would make a temporary repair using Eagle-66 cement and
    lagging cloth.

            144. Mullinex, his coworkers, and his supervisors did not know what the pipe covering
    insulation was comprised of; nor did they know the brands or manufacturers of any of the pipe
    covering that he or other machinist mates repaired. During some shipyard repair periods, he would
    occasionally see shipyard workers who would take out a 2-foot section of pipe covering and put it
    back; but that was not work that he did or supervised.

            145. During his service periods onboard USS Holder, USS Sumner and USS Edson, in
    the time periods specified above,Bert Mullinex's clothes, person,and his belongings were covered
    with and contaminated with asbestos dust, fibers and particles generated from the intended,
    ordinary, and foreseeable use of JCI's asbestos-containing gaskets and packing.

         TESTING OF ASBESTOS GASKETS AND PACKING FOR FIBER RELEASE


            146. Asbestos fibers are microscopically small and invisible to the naked eye.
    Historically, industrial hygienists have looked for visible dust as an indication of potentially
    dangerous occupational exposure. But the visible dust from an asbestos-containing product
    represents only the tip of the iceberg because millions of airborne asbestos fibers can be present
    but completely invisible. For this reason, asbestos experts have known that you cannot rely upon
    your eyes to determine the nature and extent of any dangers from asbestos dust. Since the 1940s
    researchers have used Tyndall lighting to illustrate otherwise invisible asbestos fibers; but since
    the 1930s, it has been well known that the only way to measure asbestos fibers in the air is to
    capture them on a filter and examine them under a microscope where they can be counted and
    analyzed.

            147.    The fact that airborne asbestos fibers that are released from the intended use of a
    product are invisible is the reason why manufacturers must test their products to determine if the
    fibers released exceed the microscopic permissible exposure level dictated by OSHA.

            148.    Between 1969 and 1979, no one in the United States Navy ever performed any air
    sampling to determine airborne asbestos fibers onboard ship from the fabrication and removal of
    asbestos gaskets and packing. No air samples exist from any air sample performed by the United
    States Navy at any time on any Navy ship which distinguish between airborne chrysotile asbestos
    and airborne amosite asbestos. No air samples for airborne asbestos fibers from any asbestos-
    containing products were performed at any time on the Holder, the Sumner, or the Edson while
    Bert Mullinex was onboard. As a consequence, no quantitative dose reconstruction can be made
    concerning the asbestos exposure of Bert Mullinex, and any evaluation of the causation of his
    mesothelioma requires a qualitative assessment of his exposure in consideration of his testimony,
    the testimony of his coworkers, and the testing of asbestos gaskets, packing, and insulation
    products that has been made under substantially similar conditions to those that Mullinex was
    subjected to.


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           149. Testing has proven that asbestos gaskets and asbestos packing materials are not
    encapsulated products and that millions of fibers are typically released from the intended use and
    removal ofthese products.

            150.   The airborne concentration of asbestos fibers is expressed in terms of fibers per
    cubic centimeter of air which sounds like a small number, but a concentration of 1 fiber/cubic
    centimeter is in fact 1 million fibers per cubic meter of air.

            151. A typical breath of air inhales 500 cubic centimeters of air and a human being
    typically takes 16 breaths per minute; consequently, when there is a concentration of 1 fiber/cc, a
    person is breathing 8,000 fibers in one minute. By evaluating the time of the work and the
    concentration of the fibers, it is easy to see that the intended use and removal of asbestos gaskets
    and packing can result in the inhalation of millions of asbestos fibers in a fairly short period of
    time.

           152. As demonstrated by the testing of Dr. William Longo and MAS, cutting gaskets
    from JCI's asbestos-containing gasket material can release free, respirable asbestos fibers in the
    ranges of 1.2 f/cc to 4.0 f/cc, for personal samples offabricating a gasket with a ball peen hammer.
    See MAS Study, Gasket Fabrication (Mar. 2006(JCI's 2150)).

            153. Testing performed by Dr. James Millette, also from cutting JCI's 2150 asbestos-
    containing sheet gasket with a ball peen hammer,found asbestos release potential of 2.2 f/cc for
    personal samples.See Report of Results: MVA6662,Fiber Release Testing During Gasket Making
    at Section 10 of MAS Study, Gasket Fabrication (Mar. 2006).

           154. Dr. Longo has also tested a comparable gasket, also approved for Navy use under
    the same military specification, Garlock's Style 900, and found that the asbestos fiber
    concentration under the NIOSH 7400 method, using the same gasket fabrication methods Mr.
    Mullinex and his shipmates described, with ranges from 1.1 f/cc to 3.4 f/cc. See also MAS Study,
    Gasket Fabrication II (Sept. 2006). This gasket material had a waming that was printed on the face
    ofthe gasket.

            155. In 1972, Raybestos-Manhattan, the company that manufactured asbestos gaskets
    for John Crane, performed a test to determine asbestos fiber release from cutting asbestos gaskets
    Style 663 which are on the Navy's Qualified Products List to determine asbestos fiber release from
    cutting those products and cleaning up the debris. Raybestos determined that the average
    concentration from cutting this asbestos product was 2 f/cc and that during cleanup the exposure
    averaged 6 fibers per cc.

           156. Testing by industry in 1973, e.g. Dow Chemical, showed that gasket cutting
    operations created 1 -5 f/cc of airborne asbestos.

           157. In 1975, a Navy industrial hygienist, Roger Beckett, determined from testing that
    the fabrication of asbestos gaskets with hand tools (hammers) created airborne asbestos
    concentrations of 3 f/cc; and when gaskets were fabricated with machinery, it created airborne
    asbestos concentrations of 5 f/cc. These test results were later incorporated into a comprehensive
    gasket study by the Navy in 1978.


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            158. The testing of Dr. Longo and MAS also demonstrates that free, respirable asbestos
    fibers are released from the removal of asbestos gaskets from flanges with scrapers, hand wire
    brushes, and power tools. The results ofthat testing included:

                a.        The asbestos fiber concentration under the NIOSH 7400 method in the
         MAS Study, Gasket Removal IV (2001), using the gasket removal work methods and tools
         described by Bert Mullinex and his various co-workers resulted in a range of 2.3 f/cc to 4.4
         f/cc for the personal samples for scraping and wire brushing, and a range of 4.0 f/cc to 24.4
         f/cc and 1.3-1.4 billion asbestos structures per square foot on the fabric analysis. Dr. Longo
         also measured the asbestos fiber release with a midget impinger in this study, which resulted
         in 4.9 mppcffor hand wire brushing, 8.0 mppcffor scraping and wire brushing, 22.8 to 25.6
         mppcffor power wire brushing for the personal samples.

                 b.       Dr. Longo's study. Exposure to Airborne Chrysotile and Amphibole Fibers
         During Removal of Gaskets(Sept. 2010), also yielded similar results, with the asbestos fiber
         concentration under the NIOSH 7400 method,showing an average concentration of0.64 f/cc
         for gaskets that were easily removed, and an average airborne fiber concentration of 3.60
         f/cc when sheet gaskets more tightly adhered to the flange surfaces. When extensive scraping
         and wire brushing were required, the fiber release averaged 14.1 f/cc, and when the sheet
         gaskets were so tightly adhered to the flange surface that power wire brushing was required,
         the average airborne concentration level was 35.1 f/cc.

                 c.        Another 2010 study, Milwaukee Valve Flange & Bonnet Gasket Removal
         with Hand Scraping, Hand Wire Brushing & Power Wire Brushing: A Work Practice Study
         (December 2010), yielded similar results, with ranges of 0.26 f/cc to 5.39 f/cc for hand
         scraping and hand wire brushing, ranges of 1.48 f/cc to 10.23 f/cc for power wire brushing
         the flanges, and ranges of 8.21 f/cc and 25.0 f/cc for power wire brushing the bonnet gasket.

                 d.      Dr. Longo again found similar ranges of concentrations under the NIOSH
         7400 method in our MAS Study, Bonnet Gasket and Valve Flange Removal with Pneumatic
         Power Grinding (January 2014), which had a range of0.16 f/cc to 0.29 f/cc for valve bonnet
         scraping, and a range of 9.16 f/cc to 19.55 f/cc for pneumatic wire brushing of the valve
         bonnet gasket. The range for scraping the valve flange was from 0.17 f/cc to 0.68 f/cc, and
         for pneumatic wire brushing of the valve flange, the range was 1.73 f/cc to 22.49 f/cc. For
         pneumatic wire brushing, Dr. Longo found 1.2 to 24 billion asbestos structures per square
         foot, and from 28 million to 703 million asbestos structures per square foot on the worker's
         clothing.

                 e.       In Dr. Longo's most recent test, MAS Study, Crane Co. 11, Valve Flange
         Gasket Removal with Wire Brushing & Pneumatic Power Grinding (July 2015), he found
         that the asbestos fiber concentrations were in the range of 2.1 f/cc to 6.1 f/cc on one side of
         the valve flange, and 7.8 f/cc to 8.9 f/cc in the personal samples on the other side ofthe valve
         flange, and he also found 15 asbestos fibers on the worker's shirt after the test. Each ofthese
         tests also demonstrated the presence of significant respirable asbestos fibers from each ofthe
         area samples, which were taken 7-8 feet away.



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           159. Gasket removal testing—independent of any litigation—^by the Newport News
    Shipyard and Shell Oil Company are comparable to the studies of Dr. Longo.

           160. Dr. Congo's analysis of asbestos-containing gaskets found that they range from 65-
    85% chrysotile asbestos.

            161. In Dr. Congo's testing on removal and replacement of asbestos valve packing, the
    NIOSH 7400 analysis consistently demonstrates the presence of respirable NIOSH fibers. The
    asbestos fiber concentration under the NIOSH 7400 method, in tests involving the removal and
    replacement of valve packing with the same work methods Mr. Mullinex used, ranged from 0.21
    to 0.41 f/cc for the worker's personal sample. The helper's personal samples ranged from 0.05 f/cc
    to 0.13 f/cc. Dr. Congo also found between 153 million and 438 million asbestos structures per
    square foot on the clothing samples in Valve Packing II and between 2.64 and 19 billion asbestos
    structures per square foot on the clothing samples in Valve Packing III. See MAS Study, Removal
    and Replacing Valve Packing, Study II & Video (Nov. 1999) and MAS Study, Removal and
    Replacing Valve Packing Study 111 & Video (Nov. 1999).

           162. These results for valve packing removal and replacement, gasket fabrication and
    gasket removal, far exceed the normal ambient background levels of 0.0005 f/cc by a factor of
    1,000 to 10,000 times. They also exceed the OSHA excursion limit of 1 f/cc and the OSHA
    permissible exposure limit of 0.1 f/cc, which is the equivalent of 100,000 OSHA sized fibers per
    cubic meter of air. In 1994, OSHA determined that a substantial risk of cancer and death exists
    even at its permissible exposure level of 0.1 f/cc, and it estimated that 3.4 people out of 1,000
    would still die of cancer if that exposure level existed over a work life. In the absence of
    occupational exposure to asbestos, the incidence of mesothelioma is only one in 1 million people.

           163. Other published and unpublished studies demonstrate similar ranges for valve
    packing removal and replacement, and gasket removal and fabrication. The published and
    unpublished studies demonstrate that the work practice studies performed by Dr. Longo/MAS on
    asbestos gasket and packing fiber release are consistent with noniitigation testing performed by
    industry and others, using the same work methods described by Mullinex and his co-workers.
    Some of these studies found levels that are lower than the MAS Studies, and some found levels
    that are higher than the MAS Studies. However, each of these studies demonstrates that asbestos
    gaskets and packing are capable of producing levels ofexposure that are orders of magnitude above
    background levels of exposure.

          164. Studies of asbestos gaskets by experts hired by asbestos gasket manufacturers have
    shown asbestos fiber release from asbestos gaskets and packing that is typically an order of
    magnitude lower than tests performed by industry, the Navy, or Dr. Longo. This is accounted for
    by the fact that most of these tests used work methods and tools that were not used in the Navy.
    For example, gasket cutters (razor blade equipment that was not available on Navy ships) as
    opposed to ball peen hammers; gaskets that pop off as opposed to gaskets on steam lines that split.
    The test results by industry experts are also substantially lower because all of their testing is
    converted to time-weighted averages, a process that improperly assumes zero exposure for the
    entire day except for the few minutes attributed to the test. OSHA has specifically stated that even
    these low fiber release studies by experts hired by the asbestos industry show that a warning
    should, nevertheless, have been provided by the manufacturers of asbestos gaskets.

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            165. Mullinex and all of his coworkers, including his supervisors, have reviewed the
    videotapes of Dr. Longo's testing and testified that the methods, tools, and materials used in his
    testing are identical to the methods that they and other Navy sailors used to fabricate and remove
    asbestos gaskets. Neither Mullinex nor any of his witnesses were shown any of the videotapes of
    testing by experts for John Crane;consequently,there is no foundation for the substantial similarity
    ofthat testing to the fabrication and removal of asbestos gaskets on Navy ships.

            166. Mullinex and his coworkers all testified that Navy machinists did not install or
    remove asbestos pipecovering as part oftheir regular work, that their only work with pipecovering
    was infrequent and brief and involved the occasional removal of a few inches of pipecovering to
    access a valve. Dr. Longo has also conducted studies concerning the airborne asbestos fiber release
    from cutting small sections of pipecovering as described by Mullinex as an infrequent activity that
    he occasionally did to get access to flange bolts. Assuming that the pipecovering was in fact
    asbestos-containing, that testing demonstrated that the exposures from this activity were less than
    fabricating an asbestos gasket(0.24 f/cc -0.76 f/cc). See Longo/MAS,Thermal Insulation Removal
    For Valve Repair: A Work Practice Study(March 2013).

                                           MEDICAL FACTS

           167.    All forms of asbestos cause mesothelioma.

           168. Low doses of asbestos well below the permissible exposure limits set by OSHA
    cause mesothelioma as illustrated by epidemiological studies, case studies, NIOSH,peer-reviewed
    medical authorities, and a general consensus ofthe medical community.

           169. Substantially every medical organization and governmental health organization has
    concluded that there is no known safe level of exposure to asbestos that is preventative of
    mesothelioma in all people.

            170. Exposures to a mixture ofasbestos fiber types(for example,chrysotile and amosite;
    or chrysotile and tremolite) are known to be far more carcinogenic than exposure to any single
    fiber type. As an example ofthis, exposure to amosite fibers alone at an average exposure level of
    50 f/cc was shown in peer-reviewed medical literature to create a 4 percent death rate for
    mesothelioma; whereas exposure to pipecovering materials composed of amosite and chrysotile
    asbestos fibers at a concentration averaging only 3 f/cc (according to Dr. Irving Selikoff and his
    industrial hygienist W. J. Nicholson), the death rate from mesothelioma was 8 percent.

           171. JCI's asbestos gaskets and packing products to which Bert Mullinex was exposed
    are composed of both chrysotile asbestos and tremolite asbestos as demonstrated by testing by Dr.
    Longo, which is unrebutted.

            172.   There is a consensus of medical opinion that a reliable history of significant
    asbestos exposure from occupational, domestic, or environmental sources is accepted as the basis
    for attributing specific cases of mesothelioma to prior asbestos exposure.See the Helsinki Criteria.
    Both Dr. Maddox and Dr. Spear will testify that(a)the asbestos exposures described by Mullinex
    and his coworkers to John Crane's asbestos gasket and packing materials were significant
    exposures that were high and uncontrolled during Mullinex's service onboard the Holder,Sumner,
    and Edson,(b)the asbestos exposures described by Mullinex and his coworkers to asbestos gaskets
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    and packing manufactured by Garlock and Chesterton were also significant exposures that were
    high and uncontrolled during Mullinex's service onboard the Holder,Sumner, and Edson, and (c)
    unknown to Mullinex and his coworkers, Mullinex had significant exposure from insulation
    products that contained amosite asbestos while working onboard the Holder, Sumner, or Edson,
    and this fact is shown by the presence of amosite fibers in Mullinex's lungs.

             173. Dr. Maddox will testify that based upon his own experience with asbestos lung
    digestion studies and his review ofthe peer-reviewed scientific and medical literature that(a)The
    primary type of asbestos that is found in the pleura where mesothelioma occurs is chrysotile
    asbestos, because typically only small fibers can reach the pleura, and amosite fibers are larger and
    thicker than chrysotile fibers; consequently, it is more difficult for amosite fibers to translocate
    from the lung to the pleura,(b) On a fiber-by-fiber basis amosite asbestos is more potent than
    chrysotile; however, a mixture ofchrysotile and amosite asbestos is more potent by far than either
    of these fibers alone,(c) Chrysotile fibers are rarely found in lung tissue after 30 years because
    they have a half-life in the lung of one year or less, and after 30 years only one-billionth of the
    chrysotile that was originally inhaled is present; consequently, the absences of chrysotile in the
    lung of Bert Mullinex has no relationship to the nature and extent of his exposure to chrysotile 30
    to 40 years previously, (d) The half-life of amosite is 8 to 10 years; consequently, a large
    percentage ofthe amosite fibers that were originally inhaled will still be present 40 years after the
    exposure ended which explains why lung digestion studies typically find amosite fibers, but they
    do not find chrysotile fibers,(e) The fibers that remain in the lung do not contribute directly or
    indirect to the causation of mesothelioma because they do not have contact with the mesothelial
    cells that create the cancer, (e)The presence ofsubstantial amosite in the lung creates an inference
    that some ofthe amosite did reach the pleura where it would have contributed to the development
    of mesothelioma, and (g) Mesothelioma is caused by the cumulative effect of the chrysotile,
    tremolite, and amosite asbestos fibers that reach the pleura.

            174. The diagnosis of mesothelioma was accompanied by the secondary benign finding
    of pleural plaques. Pleural plaques are not disabling, but they are an indication of past asbestos
    exposure. Pleural plaques are not specifically related to one fiber type or another. These plaques
    are found in patients who have had chrysotile exposure only, amosite exposure only, and mixed
    exposure to chrysotile and amosite. The finding of pleural plaques in this case does not lend any
    credence to the suggestion of the defense that Mullinex's mesothelioma was caused solely by
    amosite.

             175. Another secondary finding in the pathology of Bert Mullinex was the finding of
    asbestos bodies in the lung tissue. Both chrysotile asbestos and amosite asbestos can be the cause
    of asbestos bodies. An asbestos body is simply a ferritin-covered asbestos fiber in the lung that
    can be seen with a microscopic examination of lung tissue. These asbestos bodies are more often
    than not amosite, but there must be an analysis of the asbestos body to say with certainty that the
    fiber is amosite or chrysotile. Once an asbestos fiber is covered with ferritin, it is inert, and neither
    contributes to asbestosis or cancer. Asbestos bodies have no influence on the development of
     mesothelioma; they are merely a marker of past asbestos exposure. There are no asbestos bodies
    in the pleura, and that is where the mesothelioma occurs.

            176. Dr. Maddox (a pathologist who has seen over 2,000 mesothelioma cases and has
     been accepted as an expert in the causation of mesothelioma in State and Federal courts all over

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    the United States) will testify that based upon the testimony of Mullinex and his coworkers and
    the testing by Dr. Longo,the Navy,and industry,that the exposure of Mullinex to asbestos gaskets
    and packing materials sold by John Crane to the Navy was a substantial contributing factor to his
    development of mesothelioma and of his death from mesothelioma. Dr. Maddox will also rely
    upon a variety of reliable published medical articles, epidemiological studies, industrial hygiene
    studies, and his own experience as an expert in lung pathology and carcinogenesis to conclude that
    the chrysotile and tremolite asbestos in John Crane's asbestos gasket and packing materials can
    and do cause mesothelioma in cases substantially similar to the exposure of Bert Mullinex as well
    as in cases where the demonstrated exposure to chrysotile and tremolite was much less.

            177. Chrysotile asbestos in the lung breaks down into small fibrils which are then
    translocated from the lung to the pleura by way ofthe "Pores ofKohn," which are narrow openings
    between the lung tissue and the pleura. Amosite fibers are far larger than chrysotile fibers;
    consequently, far fewer amosite fibers break down and become small enough to reach the pleura.

             178. The methodology used in the lung digestion study of Bert Mullinex was designed
    to eliminate the possibility of finding chrysotile in Mullinex's lungs because the tester only
    counted fibers that were 5 microns long or greater; and it is highly unlikely that any chrysotile
    fibers would remain in the lungs after 30 years; and if any chrysotile continues to exist in lung
    tissue after 30 years, it will invariably be less than 5 microns long. John Crane's attorneys dictated
    that the tester should only count asbestos fibers that were 5 microns or longer. The normal
    procedure for the testing company was to count any fiber that was .5 microns in length.

           179. Bert Mullinex's exposure to airborne asbestos fibers from the intended use and
    removal of JCI's asbestos gaskets and packing materials onboard Navy ships, either from hands-
    on use of these products or from close proximity to other machinist mates who were using or
    removing these products, was regular, frequent, and routine, and resulted in high exposures over a
    period of four to five years that cumulatively were a substantial contributing factor to the
    development of his mesothelioma.

                   NO NAVY DISCRETION.PREVENTION.OR PROHIBITION

            180.   From December 1969 until November 1978, Navy specifications and regulations
    did not prohibit or prevent JCI from placing a warning on its asbestos sheet gasket material Style
    2150 or on the packaging of this product that it sold to the Navy; and the Navy did not exercise
    any discretion with regard to warning labels that the manufacturers ofasbestos gaskets could place
    on the packaging or face oftheir products.

            181. Navy specifications and regulations did not prohibit or prevent JCI from placing a
    warning on the spools and packages of JCI's asbestos packing materials that it sold to the Navy;
    and the Navy did not exercise any discretion with regard to warning labels that the manufacturers
    of asbestos packing could place on the packaging or face oftheir products.

            182. George McKillop, the former corporate representative of JCI and former head of
    the packing division at its plant in Morton Grove,Illinois, who started working for JCI in the 1950s
    has testified there were no government regulations that prevented JCI from placing a warning on
    its asbestos gaskets and packing products that were sold to the Navy.

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            183. Vance Vorhees,JCl's former executive vice-president, who worked for JCI starting
    in the 1940s, testified that there were no government regulations that prevented JCI from placing
    a warning on its asbestos gasket and packing products that were sold to the Navy.

            184.   JCFs corporate representative, George Springs, who started working for JCI in
    1977 and did not become an officer at JCI until 1998, has testified under oath that JCI "could have
    put anything on the sheet gasket material that they wanted to put on it." JCI's own sheet gaskets
    contained additional markings not set forth by the gasket specifications, as set forth in JCI's own
    catalog published in the 1950s. At that time, the "branding" paragraph of MIL-A-17472(SHIPS)
    (1953)specified that "Every square foot, or less, of the asbestos sheet be plainly marked with the
    manufacturer's brand name." John Crane's Symbol 2150 gasket material, however, also included
    the non-specified markings "2150," "Navy", "High Pressure", "Sheet Packing", "New York -
    Chicago - Phila," along with a square pattern around the "John Crane"(JCI) name. Later versions
    of JCI's gasket material in the 1960s and 70s included a diamond shaped pattern all over the gasket
    material even though the specification at the time was silent as to such markings.

            185. JCI's decision not to put a warning on any of its products—^whether they were
    gaskets or packing, or whether they were chrysotile or crocidolite—ignored the consensus of
    scientific opinion that existed throughout the time period 1970 to 1978 that asbestos-containing
    products like gaskets and packing should be tested to determine if they release respirable asbestos
    fibers during their intended or foreseeable use and that minimal airborne asbestos exposure carries
    with it a significant risk of mesothelioma that should be warned against.

           186. JCI never discussed or apprised the Navy of hazards in the use of its gaskets and
    packing products until at least the 1980s.

           MULLINEX IS NOT AT FAULT AND JCI SHOULD HAVE WARNED HIM

            187. Bert Mullinex's prompt and wise response to his first knowledge about the hazards
    of asbestos in pipecovering shows conclusively that he would have followed an adequate warning
    from John Crane to protect himselffrom breathing asbestos dust and fibers from asbestos gaskets
    and packing and insulation if an adequate warning had been given, which it was not.

            188. The inference that Bert Mullinex made that a mask and protective clothing should
    be worn when fabricating and removing asbestos gaskets because of the simple fact that asbestos
    fibers are invisible, and invisible fibers are the cause of cancer, is the same inference that JCI
    should have made long before Bert Mullinex ever joined the Navy; and it is the reason JCI should
    have placed a warning on its packaging or on its products.

            189.   Bert Mullinex was not contributorily negligent in causing his mesothelioma.

            190.   Bert Mullinex was not comparatively negligent in causing his mesothelioma.

            191.   Bert Mullinex did not assume the risk of mesothelioma.

           192. JCI's asbestos-containing gaskets and packing reached Bert Mullinex, and his
    shipmates without substantial change in the condition in which they were sold.


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           193. Crane Packing Company and John Crane-Houdaille, Inc., are predecessors to John
    Crane, Inc., (hereinafter "JCI"), and JCI is successor in interest for these entities with regard to
    asbestos claims.

           194.    JCI knew, had reason to know, or should have known of the historic state-of-the-
    art literature and other information placing them on notice ofthe hazards of asbestos and products
    containing asbestos.

           195. JCI knew, had reason to know, should have known or could have reasonably
    determined that the normal, foreseeable use of their asbestos-containing products was dangerous
    and required a warning.

            196. JCI's asbestos-containing products were defective and inherently dangerous in the
    manner in which they were marketed for their failure to contain or include adequate warnings on
    their asbestos-containing products regarding potential health hazards associated with the use,
    removal or maintenance or, or the exposure to the products. The defective and inherently
    dangerous condition ofthese asbestos containing products, coupled with the disabling and/or fatal
    diseases generated by the inhalation of asbestos dust, rendered such asbestos-containing products
    unreasonably and inherently dangerous.

            197. Other gasket manufacturers, including Greene, Tweed & Co., Anchor Packing, and
    Oarlock,sold asbestos-containing sheet gasket material to the Navy and applied warning labels on
    the face oftheir gasket material at various times from 1972 to 1977.

                                               DAMAGES


           198.     On November 11, 2021 Herbert Mullinex died from malignant mesothelioma, a
    debilitating and terminal condition, at the age of 73. Mullinex's disease and its impact upon his
    bodily systems,along with the necessary and proper treatments for that disease caused him extreme
    fatigue, discomfort, pain, constipation, nausea, loss of appetite, weight loss, emaciation,
    indigestion, shortness of breath, clwonic cough, anxiety, depression, fear, immobility, inability to
    bathe, use the restroom or care for himself, along with repeated hospital treatments, including
    chemotherapy and surgery. For many months he was on oxygen 24 hours a day. As his disease
    progressed, he was largely confined to his home,and to a hospital bed or chair, with the exception
    of medical treatments, and he was unable to participate in any of the normal recreational, social,
    or marital activities of life which are normal to a good marriage and to which Herbert Mullinex,
    Jr. and Patricia Mullinex were accustomed to prior to Mr. Mullinex's mesothelioma diagnosis.

            199. As a proximate result of JCI's failure to warn, which was a substantial contributing
    factor in the development of Bert Mullinex's disease and condition as set forth above, PlaintifPs
    Spouse, Patricia Mullinex, was deprived ofthe physical, mental, and emotional services, comfort,
    society, attentions, pleasure, solace, fellowship, marital life, companionship, and consortium of
    her husband.

           200. As a direct and proximate result of the negligence, carelessness, gross negligence,
    recklessness, willful or wanton misconduct, strict liability, fraudulent concealment,
    misrepresentations and willful omissions of JCI, Bert Mullinex was caused to contract diseases
    and injuries of his body systems, lungs, and heart, including malignant mesothelioma, which have
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    caused Bert Mullinex pain, suffering, mental anguish, and ultimately caused his death.

           201. Bert Mullinex incurred medical expenses in the amount of $1,078,883.70; had his
    enjoyment of life impaired; and was caused to suffer great physical pain and suffering and
    psychological and mental trauma.

            202. As a result of the aforesaid injuries to decedent, Bert Mullinex, Plaintiff, Mr.
    Mullinex's spouse, Patricia E. Mullinex, has suffered mental anguish by being forced to witness
    the suffering endured by Mr. Mullinex whereby Mrs. Mullinex's own nerves and health have been
    seriously and permanently shocked, weakened, and impaired; and by reason of the physical and
    mental condition of Mr. Mullinex, Mrs. Mullinex spouse continues to suffer in mind and body,
    and has been denied the care, protection, consideration, companionship, services, income, aid,
    pleasure, assistance, and society of Bert Mullinex.

       B. Defendant JCI's Factual Contentions are as follows^;



           1. JCI refutes Plaintiffs contention that Bert worked "regularly" or "frequently" with, or
    "in close proximity" to,JCI-branded gaskets and packing. For work that involved the removal and
    replacement of gaskets or packing, the evidence will demonstrate that a variety of both non-
    asbestos and asbestos-containing gasket and packing materials were specified for different systems
    and applications. For asbestos-containing sheet gasket material (Navy "2150"), the only gasket
    material JCI ever sold to the Navy,approximately half ofthe services in Bert's workspaces did not
    allow 2150 to be used. Even in those services where 2150 could be used, there were numerous
    approved brands used on Navy ships during the relevant time period. The same is true of valve
    and pump stem packing material.

           2. JCI contends there is no record evidence that Bert ever removed a JCI-branded gasket
    or packing material, and, as such, there is no evidence Bert was ever exposed to asbestos during
    the removal of any JCI-branded gaskets and packing.

           3. JCI contends there is no record evidence that Bert during the relevant time period ever
    worked with or around a power grinder to remove any gasket material (JCI or otherwise).

           4. JCI contends there is no record evidence that Bert ever removed a JCI-branded gasket
    or packing material, and, as such, there is no evidence Bert was ever exposed to asbestos during
    the removal of any JCI-branded gaskets and packing.

           5. Any asbestos-containing, JCI-branded sheet gasket material and packing at issue was
    comprised of chrysotile asbestos fiber that was encapsulated in a mixture of materials that
    prevented the release of airborne asbestos fiber during their normal and foreseeable use.

    ^ JCI's understanding is that the Statement of Factual Contentions is an overview of the primary
    factual contentions at trial and not a comprehensive recitation of all the evidence supporting each
    triable fact. JCI objects to Plaintiffs Factual Contentions, which spans 201 paragraphs, and
    includes summaries of testimony and other evidence that are irrelevant to the issues in the case
    (and also include certain evidence that has been ruled inadmissible).
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            6. Any release of airborne chrysotile asbestos fibers from work with JCI-branded gaskets
    and packing was insufficient to raise Bert's risk of asbestos-related disease, and was well within
    all current and historical occupational exposure limits(including the "permissible exposure limits"
    ("PELs")published by OSHA regulations and the "threshold limit values"("TLVs")published by
    the American Conference of Government Industrial Hygienists("ACGIH").

           7. Based on the applicable government regulations, industry standards and state of
    medical, scientific, engineering and other technical knowledge during the relevant time period,
    there was no foreseeable risk associated with the normal and foreseeable use of asbestos-
    containing gaskets and packing and, therefore, no duty on the part of JCI to warn.

            8. Bert experienced regular, frequent and heavy exposures to asbestos-containing thermal
    insulation aboard Navy ships, including amosite-containing thermal insulation, by working
    directly with insulation materials (including the removal and reapplication of pipecovering,
    asbestos felts and blankets, and other materials), working in close proximity to others disturbing
    such materials, and from contamination ofthe environment from work with such materials.

           9. A fiber digestion study of available lung tissue shows that Bert has a very high
    concentration ofamosite fibers in his lung from occupational exposure to thermal insulation during
    his Navy service. Additionally, the clinical findings of bilateral pleural plaques and presence of
    asbestos bodies further demonstrates his exposure to amphibole-containing thermal insulation.

            10.   The reliable scientific literature demonstrates there is no increased risk of
    mesothelioma from exposure to chrysotile fibers from work with gaskets, packing and similar
    products.

            11. The reliable scientific literature shows that amosite asbestos fiber-the type contained
    in thermal insulation products - is far more potent than chrysotile asbestos fiber in causing
    asbestos-related disease, including mesothelioma.

            12. The U.S. Navy issued reasonably precise military specifications for asbestos-
    containing sheet gasket and packing material that specified all aspects ofthe material composition
    (including the type and percentage of asbestos fiber), the design, manufacture, shipment and
    labeling for those products. The Navy dictated what could appear on the face of gasket material
    and the packaging for gasket and packing material, and an asbestos warning was not permitted.
    JCI's products conformed to those specifications, and the Navy — which inspected goods for
    compliance with marking and labeling requirements — never rejected a shipment for failure to
    include a warning, nor did it ever find JCI in violation of any specification for failing to include a
    warning on these products.^


    ^ At the October 7, 2021 hearing on the parties' pretrial motions, Judge Miller stated that he had
    limited JCI's affirmative govemment contractor defense to the face of the gaskets. He also said
    that his ruling did not prohibit JCI from introducing evidence that the govemment would not allow
    wamings on product packaging or on spools of packing. JCI simply cannot assert the govemment
     contractor defense as to those other wamings.
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           13. The Navy had equal or greater knowledge to that of JCI regarding the potential health
    hazards associated with asbestos.


           14. Even if the Navy had permitted a warning on the packaging of gasket material, such
    warning would have had no effect because neither Bert nor his shipmates ever saw the packaging
    in which gasket material was shipped to the Navy.

           15. A warning on JCI-branded sheet gaskets or packing would not have prevented the
    exposure to the amosite-containing thermal insulation that caused his mesothelioma.

       V. TRIABLE ISSUES


                A. The Triable Issues as Contended bv the Plaintiff are:


           1.      Whether JCI is held to the standard of an expert with regard to the potential

    hazards associated with the carcinogenic asbestos fibers contained in its asbestos-containing

    gaskets and packing.

           2.      Whether JCI had a duty to:

                a) know what was knowable and research the hazardous characteristics ofthe

                   asbestos fibers that were incorporated into its asbestos containing products;

                b) test the potential asbestos fiber release associated from the intended use and

                   removal of asbestos-containing gaskets and packing;

                c) anticipate the environment where its asbestos-containing gaskets and packing

                   would be used, including the likelihood that it would be used with other asbestos-

                   containing products including both chrysotile and/or amosite insulation products;

                d) and to provide adequate warnings on their packaging, spools, written materials,

                   face oftheir gaskets or anywhere else to warn consumers of its asbestos-

                   containing gaskets and packing, including consumers and end-users of its

                   asbestos-containing gaskets and packing concerning:(1)the asbestos content of

                   its products,(2)the specific health risk associated with breathing asbestos fibers


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                   from the intended use of its products, and (3)the protective safety measures that

                   should be followed to prevent the breathing of airborne asbestos fibers whenever

                   asbestos-containing gaskets and packing were fabricated, removed, or subjected

                   to any other intended use, including the increased risk of using asbestos-

                   containing gaskets and packing with other asbestos-containing products which

                   also had the potential to release airborne asbestos fibers into the same

                   environment.


           3.      Whether JCI was negligent for breaching its duties:(1)to research and know the

    hazardous characteristics of the asbestos fibers that were incorporated into its asbestos-

    containing products,(2)test the potential asbestos fiber release associated from the intended use

    and removal of asbestos-containing gaskets and packing, and (3)anticipate the environment

    where its asbestos-containing products would be used and (4)to adequately warn the ultimate

    consumer and end-users of the potential health hazards associated with the breathing asbestos

    fibers from the intended and foreseeable uses of its asbestos-containing gaskets and packing.

           4.      Whether JCI's negligence was a substantial contributing factor in the creating

    asbestos exposure that caused or contributed to cause Bert Mullinex's mesothelioma.

           5.      Whether JCI's failure to put adequate warnings on its asbestos-containing gaskets

    and packing rendered those products unreasonably dangerous to the ultimate user or consumer,

    and whether these unreasonably dangerous products were expected to reach the ultimate user or

    consumer without any substantial change in the condition in which they were sold. See

    Restatement(Second)§402A. And if so, whether such failure to provide an adequate warning to

    Mullinex was a substantial contributing factor to the development of his mesothelioma.

           6.      Whether and to what extent decedent, Bert Mullinex, Jr. and Plaintiff, Patricia



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    Mullinex have suffered damages, and the amount of those damages.

           7.      Whether decedent, Bert Mullinex, is entitled to damages for his pain and

    suffering, and mental anguish from JCl; and the amount of those damages.

           8.      Whether decedent, Bert Mullinex is entitled to damages for his medical expenses,

    which are stipulated in the total amount of$1,078,883.70.

           9.      Whether Plaintiff, Patricia Mullinex, is entitled to damages for her pre-death loss

    of society and consortium,"* and if so, the amount ofthose damages.

           10.     Whether Plaintiff, Patricia Mullinex, is entitled to compensation for the

    reasonably expected loss of services, protection, care and assistance provided by decedent,

    Herbert Mullinex.


           11.     Whether Plaintiff is entitled to compensation for the decedent, Herbert Mullinex's

    funeral expenses.

           12.     Whether Plaintiff is entitled to recover the costs incurred for these proceedings.

           13.     Whether Plaintiff is entitled to punitive damages from JCL,and if so the amount

    ofthese damages.^

                   B.     Defendant JCI*s Statement of Triable Issues:

           1. JCI is pursuing the government contractor defense and claims that it enjoys the same

    immunity from suit as the federal government under the Eleventh Amendment to the United States



    "* Plaintiff objected to Magistrate Judge Miller's report and recommendation (ECF 351)
    recommending that Mrs. Mullinex's claim for loss of society and loss of society damages are
    unavailable in this case.(See ECF 366). For the reasons stated in Plaintiffs objection, Plaintiff
    continues to object to the exclusion of Mrs. Mullinex's claim for loss ofsociety and loss ofsociety
    damages.

    ^ Plaintiff objected to Magistrate Judge Miller's report and recommendation (ECF 351)
    recommending that punitive damages are unavailable in this case.(See ECF 366). For the reasons
    stated in Plaintiffs objections. Plaintiff continues to object to the exclusion of punitive damages.
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    Constitution. The United States Supreme Court has extended that immunity to contractors, like

    JCl, when sued for alleged product defects in products supplied according to (and meeting)

    government specifications. Boyle v. United Techs. Corp.,487 U.S. 500, 511-12(1988). Plaintiff

    asserts such a claim here, alleging that gasket and packing material supplied by JCI was defective

    for failure to include warning labels concerning the potential health effects of asbestos. The

    reasonably precise military specifications for those products specified all aspects of the design,

    manufacture, shipment and labeling for those products. The Navy dictated what could appear on

    the face of gasket material and an asbestos warning was not permitted. JCl's products conformed

    to those specifications, and the Navy - which inspected goods for compliance with marking and

    labeling requirements- never rejected a shipment for failure to include a warning, nor did it ever

    find JCI in violation of any specification for failing to include a warning on these products. The

    Navy (which began doing experimental work with gaskets and packing since before JCI was a

    company) had equal or greater knowledge to that of JCI regarding the potential health hazards

    associated with asbestos.


           2.      JCI owed no statutory or common-law duty to warn during the relevant time period,

    because the products at issue did not pose a foreseeable risk of harm.

           3.      JCI's conduct and its products were in compliance with the relevant knowledge and

    state-of-the-art during the relevant time period.

           4.      The absence of a warning on JCI's products was not a proximate cause of Bert's

    alleged injurious exposure to airborne asbestos fibers.

           5.      Any alleged exposure to any JCI-branded asbestos-containing products was not a

    substantial contributing factor in causing Bert's mesothelioma.




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           6.      Bert's regular and frequent exposure to thermal insulation, including amphibole-

    containing insulation, was the sole cause of his mesothelioma.

           7.      To the extent Plaintiff seeks to recover under maritime law on a negligent failure-

    to-wam theory, maritime cases make clear that such claims are governed by Restatement(Second)

    of Torts §388. Martinez v. Dixie Carriers, Inc., 529 F.2d 457(5th Circ. 1976)(applying §388 in

    context of negligent failure to warn under maritime law). Section 388, in turn, expressly

    incorporates the "reason to know"standard. The Restatement explains in its "Definitions" section

    that throughout the Restatement, "reason to know" denotes actual possession of the facts from

    which a defendant could conclude that a substance is harmful: "The words 'reason to know'...

    denote the fact that the actor has information from which a person of reasonable intelligence or of

    the superior intelligence ofthe actor would infer that the fact in question exists, or that such person

    would govern his conduct upon the assumption that such fact exists." Id., §12.

            8.     In the event Plaintiff is seeking to recover under a strict liability claim for failure-

    to-wam, maritime law reflects that such claims are not a "pure strict liability" standard. Rather,

    such claims are governed under a "knew-or-should-have-known" standard. See Pavlides v,

    Galveston Yacht Basin, Inc., 121 F.2d 330(5th Cir. 1985); 1 Thomas J. Schoenbaum, Admiralty

    and Maritime Law,Admiralty and the General Maritime Law §5-7, at 285(West 5^ ed. 2011).




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    ENTERED this
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                                               Doucias E.  I. Miiler/^^V
                                               United States Magistrate Judge
                                          Douglas Miller
                                          UNITED STATES MAGISTRATE JUDGE




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